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                         UNITED STATES DISTRICT COURT
                        WESTERN DISTRICT OF LOUISIANA
                                MONROE DIVISION
  THE STATE OF LOUISIANA,
  By and through its Attorney General, JEFF
  LANDRY;

  THE STATE OF ALABAMA,
  By and through its Attorney General, STEVE
  MARSHALL;

  THE STATE OF ALASKA,
  By and through its Attorney General, TREG R.
  TAYLOR;

  THE STATE OF ARIZONA,
  By and through its Attorney General, MARK
  BRNOVICH;                                        CIVIL ACTION NO. _______________

  THE STATE OF ARKANSAS,
  By and through its Attorney General, LESLIE
  RUTLEDGE;

  THE STATE OF FLORIDA,
  By and through its Attorney General, ASHLEY
  MOODY;

  THE STATE OF GEORGIA,
  By and through its Attorney General, CHRIS-
  TOPHER CARR;

  THE STATE OF INDIANA,
  By and through its Attorney General, TODD
  ROKITA;

  THE STATE OF IOWA;
  By and through its Attorney General;

  THE STATE OF KANSAS,
  By and through its Attorney General, DEREK
  SCHMIDT;

  THE COMMONWEALTH OF KENTUCKY,
  By and through its Attorney General, DANIEL
  CAMERON;



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  THE STATE OF MISSISSIPPI,
  By and through its Attorney General, LYNN
  FITCH;

  THE STATE OF MISSOURI,
  By and through its Attorney General, ERIC S.
  SCHMITT;

  THE STATE OF MONTANA,
  By and through its Attorney General, AUSTIN
  KNUDSEN;

  THE STATE OF NEBRASKA,
  By and through its Attorney General, DOUG-
  LAS J. PETERSON;

  THE STATE OF NORTH DAKOTA,
  By and through its Attorney General, Wayne
  Stenehjem;

  THE STATE OF OHIO,
  By and through its Attorney General, Dave
  Yost;

  THE STATE OF OKLAHOMA,
  By and through its Attorney General, JOHN M.
  O’CONNOR;

  THE STATE OF SOUTH CAROLINA,
  By and through its Attorney General, ALAN
  WILSON;

  THE STATE OF SOUTH DAKOTA,
  By and through its Attorney General, JASON
  R. RAVNSBORG;

  THE STATE OF TENNESSEE,
  By and through its Attorney General, HER-
  BERT H. SLATERY III;

  THE STATE OF UTAH,
  By and through its Attorney General, SEAN D.
  REYES;

  THE STATE OF WEST VIRGINIA,




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   By and through its Attorney General, PAT-
   RICK MORRISEY;

   THE STATE OF WYOMING,
   By and through its Attorney General, BRID-
   GET HILL;

   PLAINTIFFS,

   v.

   XAVIER BECERRA, in his official capacity as
   Secretary of Health and Human Services;

   THE U.S. DEPARTMENT OF HEALTH AND
   HUMAN SERVICES;

   ADMINISTRATION FOR CHILDREN AND
   FAMILIES;

   JOOYEUN CHANG, in her official capacity as
   Principal Deputy Assistant for Children and
   Families;

   BERNADINE FUTRELL, in her official capac-
   ity as the director of the Office of Head Start.

   DEFENDANTS.




                                            COMPLAINT

         The States of Louisiana, Alabama, Alaska, Arkansas, Arizona, Florida, Georgia, Indiana,

  Iowa, Kansas, Kentucky, Mississippi, Missouri, Montana, Nebraska, North Dakota, Ohio, Okla-

  homa, South Carolina, South Dakota, Tennessee, Utah, Wyoming, and West Virginia bring this

  civil action against the above-listed Defendants for declaratory and injunctive relief and allege as

  follows:




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                                         INTRODUCTION

         1.      The Biden Administration has quadrupled down on its lawless mandates. Facing a

  barrage of court orders enjoining its first three vaccine mandates, the Administration has not begun

  to rethink its “sledgehammer” approach. BST Holdings, L.L.C. v. Occupational Safety & Health

  Admin., United States Dep't of Lab., 17 F.4th 604, 612 (5th Cir. 2021). Instead it enacted a new

  Mandate materially similar to—and in some ways more draconian than—its first three. The Head

  Start Mandate applies to all preschool programs funded by the federal Head Start program, regu-

  lating hundreds of thousands of staff, volunteers, and preschool students nationwide. It forces vac-

  cinations on staff, volunteers, and others in contact with Head Start students and forces masks on

  everyone age two and up. It includes few exceptions, is projected to lead to tens of thousands of

  Head Start agency staff losing their jobs, and will cause programs to close or reduce capacity—

  achieving the very opposite result of its purported goal. The Department of Health and Human

  Services enacted the Head Start Mandate 82 days after announcing its intent to do so, but made

  the Mandate effective immediately and (like the other three federal vaccine mandates) bypassed

  notice and comment.

         2.      The Head Start Mandate is unlawful. It exceeds the executive’s statutory authority;

  is contrary to law; illegally bypassed notice and comment; is arbitrary and capricious; constitutes

  an exercise of legislative power in violation of the Nondelegation Doctrine; and violates the Con-

  gressional Review Act, the Tenth Amendment, the Anti-Commandeering doctrine, the Spending

  Clause, and the Treasury and General Government Appropriations Act of 1999.

                                              PARTIES

         3.      Plaintiff State of Louisiana is a sovereign State of the United States of America.

  Jeff Landry is the Attorney General of the State of Louisiana. He is authorized by Louisiana law




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  to sue on the State’s behalf and to protect the interests of its citizens as parens patriae. His offices

  are located at 1885 North Third Street, Baton Rouge, Louisiana 70802, and the Northeast Louisi-

  ana State Office Building, 24 Accent Drive, Suite 117, Monroe, Louisiana, 71202.

          4.      Plaintiff State of Alabama is a sovereign State of the United States of America.

  Plaintiff Steve Marshall is the Attorney General of the State of Alabama. He is authorized by

  Alabama law to sue on the State’s behalf and to protect the interests of its citizens as parens pa-

  triae. His offices are located at 501 Washington Avenue, Montgomery, AL 36104.

          5.      Plaintiff State of Alaska is a sovereign State of the United States of America. Mi-

  chael J. Dunleavy is the Twelfth Governor of the State of Alaska and is authorized to bring suit in

  the name of the State to enforce compliance with any constitutional or legislative mandate. Alaska

  Const. art. III, §16. Treg R. Taylor is the Attorney General of the State of Alaska, and is authorized

  by Alaska law to bring suit in the name of the State to protect the U.S. and Alaska Constitutions.

  Alaska Stat. §44.23.020(b)(1), (9). His offices are located at 1031 West 4th Ave., Suite 200, An-

  chorage, AK 99501.

          6.      Plaintiff State of Arizona is a sovereign State of the United States of America.

  Plaintiff Mark Brnovich is the Attorney General of the State of Arizona. He is authorized by Ari-

  zona law to sue on the State’s behalf and to protect the interests of its citizens as parens patriae.

  His offices are located at 109 State Capitol, Cheyenne, WY 82002.

          7.      Plaintiff State of Arkansas is a sovereign State of the United States of America.

  Plaintiff Leslie Rutledge is the Attorney General of the State of Arkansas. She is authorized by

  Arkansas law to sue on the State’s behalf and to protect the interests of its citizens as parens pa-

  triae. Her offices are located at 323 Center St., Suite 200, Little Rock, AR 72201.




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          8.      Plaintiff State of Florida is a sovereign State of the United States of America. Plain-

  tiff Ashley Moody is the Attorney General of the State of Florida. She is authorized by Florida law

  to sue on the State’s behalf and to protect the interests of its citizens as parens patriae. Her offices

  are located at the Florida Capitol, Pl-01, Tallahassee, FL 32399.

          9.      Plaintiff State of Georgia is a sovereign State of the United States of America.

  Plaintiff Christopher Carr is the Attorney General of the State of Georgia. He is authorized by

  Georgia law to sue on the State’s behalf and to protect the interests of its citizens as parens patriae.

  His offices are located at 40 Capitol Square, SW, Atlanta, GA 30334.

          10.     Plaintiff State of Indiana is a sovereign State of the United States of America. This

  action is brought by the State in its sovereign capacity through its Attorney General Todd Rokita

  who is authorized to bring legal actions to protect the interests of the State of Indiana and its citi-

  zens as parens patriae. His offices are located at 302 W. Washington Street, 5th Floor, Indianapolis,

  IN 46204.

          11.     Plaintiff State of Iowa is a sovereign State of the United States of America. The

  Attorney General of Iowa is authorized by law to prosecute legal actions on behalf of the State of

  Iowa and its citizens when requested to do so by the Governor. The office of the Attorney General

  is located at 1305 E. Walnut Street, Des Moines, IA 50319.

          12.     Plaintiff State of Kansas is a sovereign State of the United States of America. Plain-

  tiff Derek Schmidt is the Attorney General of the State of Kansas. He is authorized by Kansas law

  to bring legal actions on behalf of the State of Kansas and its citizens. He sues to vindicate its

  sovereign, quasi-sovereign, proprietary, and parens patriae interests. The office of the Attorney

  General is located at 120 SW 10th Ave, 2d Fl., Topeka, KS 66612.




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         13.      The Commonwealth of Kentucky is a sovereign State of the United States of Amer-

  ica. Daniel Cameron is the Attorney General of the Commonwealth and is authorized by law to

  bring actions on its behalf and that of its citizens. He is “charged with the duty of protecting the

  interest of all people,” Hancock v. Terry Elkhorn Mining Co., 503 S.W.2d 710, 715 (Ky. 1973),

  including ensuring that government actors perform their duties lawfully. Commonwealth ex rel.

  Beshear v. Bevin, 498 S.W.3d 355, 362 (Ky. 2016). His office is located at 700 Capital Avenue,

  Suite 118, Frankfort, Kentucky 40601.

         14.     Plaintiff State of Mississippi is a sovereign State of the United States of America.

  Lynn Fitch is the Attorney General of the State of Mississippi. She is authorized by Mississippi

  law to sue on the State’s behalf and to protect the interests of its citizens as parens patriae. Her

  offices are located at 550 High Street, Jackson, MS 39201.

         15.     The State of Missouri is a sovereign State of the United States of America, and it is

  not a citizen of any state. This action is brought by Missouri in its sovereign capacity in order to

  protect its interests and those of its citizens as parens patriae, by and through Eric S. Schmitt, the

  Attorney General of Missouri. Attorney General Schmitt acts under his authority to “institute, in

  the name and on the behalf of the state, all civil suits and other proceedings at law or in equity

  requisite or necessary to protect the rights and interests of the state.” Mo. Rev. Stat. §27.060. His

  offices are located at 207 High Street, P. O. Box 899, Jefferson City, MO 65102.

         16.     Plaintiff State of Montana is a sovereign State of the United States of America. This

  action is brought by the State in its sovereign capacity through its Attorney General Austin Knud-

  sen, who is authorized to bring legal actions to protect the interests of the State of Montana and its

  citizens as parens patriae. His offices are located at 215 N. Sanders St., Helena, MT 59601.




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         17.     Plaintiff State of Nebraska is a sovereign State of the United States of America.

  Douglas J. Peterson is the Attorney General of the State of Nebraska. He is authorized by Nebraska

  law to sue on the State’s behalf and to protect the interests of its citizens as parens patriae. His

  offices are located at 2115 State Capitol, Lincoln, NE 68509.

         18.     Plaintiff State of North Dakota is a sovereign State of the United States of America.

  Wayne Stenehjem is the North Dakota Attorney General, and he is authorized by law to bring legal

  actions on behalf of the State of North Dakota and its citizens. N.D. Cent. Code 54-12-02. The

  office of the Attorney General is located at 600 E. Boulevard Ave., Bismarck, ND 58505.

         19.     Plaintiff State of Ohio is a sovereign State of the United States of America. This

  action is brought by the State in its sovereign capacity through its Attorney General Dave Yost,

  who is authorized to bring legal actions to protect the interests of the State of Ohio and its citizens

  as parens patriae. His offices are located at 30 Broad St., 14th Fl., Columbus, OH 43215.

         20.     Plaintiff State of Oklahoma is a sovereign State of the United States of America.

  Plaintiff John M. O’Connor is the Attorney General of the State of Oklahoma. He is authorized by

  Oklahoma law to sue on the State’s behalf and to protect the interests of its citizens as parens

  patriae. Okla. Stat. tit. 74, §18b(A)(2)-(3). His offices are located at 313 N.E. 21st Street, Okla-

  homa City, OK 73105.

         21.     Plaintiff State of South Carolina is a sovereign state of the United States of Amer-

  ica. Plaintiff Alan Wilson is the Attorney General of the State of South Carolina. He is authorized

  by South Carolina law to sue on the State’s behalf and to protect the interests of its citizens as

  parens patriae. His offices are located at 1000 Assembly St, Columbia, SC 29201.

         22.      The State of South Dakota is a sovereign State of the United States of America.

  This action is brought by the State in its sovereign capacity in order to protect the interests of the




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  State of South Dakota and its citizens as parens patriae, by and through Jason R. Ravnsborg, the

  South Dakota Attorney General. The Attorney General is acting pursuant to his authority to appear

  for the State and prosecute any civil matter in which the State is a party or interested when, in his

  judgment, the welfare of the State demands. SDCL §1-11-1(2). His offices are located at 1302 E.

  Hwy 14, Suite 1, Pierre SD 57501-8501.

         23.     Plaintiff State of Tennessee is a sovereign State of the United States of America.

  Herbert H. Slatery III is the Attorney General and Reporter of the State of Tennessee. Attorney

  General Slatery is authorized to bring legal actions on behalf of the State of Tennessee and its

  citizens. His offices are located at 500 Dr. Martin L. King Jr. Blvd., Nashville, TN 37243, and his

  mailing address is P.O. Box 20207, Nashville, TN 37202-0207.

         24.     Plaintiff State of Utah is a sovereign State of the United States of America. Sean D.

  Reyes is the Attorney General of Utah. Attorney General Reyes is authorized to bring legal actions

  on behalf of the State of Utah and its citizens. His offices are located at 350 North State Street,

  Suite 230, Salt Lake City, Utah 84114.

         25.     Plaintiff State of Wyoming is a sovereign State of the United States of America.

  This action is brought by Wyoming in order to protect its interests and those of its citizens as

  parens patriae, by and through Bridget Hill, the Attorney General of Wyoming. Attorney General

  Hill is authorized to bring legal actions on behalf of the State of Wyoming and its citizens. Wyo.

  Stat. Ann. §9-1-603(a). Her offices are located at 109 State Capitol, Cheyenne, WY 82002.

         26.     Plaintiff West Virginia is a sovereign State of the United States of America. Patrick

  Morrisey is the Attorney General of the State of West Virginia. He is authorized by West Virginia

  law to sue on the State’s behalf and to protect the interests of its citizens as parens patriae. His

  offices are located at the State Capitol Complex, Bldg. 1, Room E-26 Charleston, WV 25305.




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         27.     Defendants are officials of the United States government and United States govern-

 mental agencies responsible for promulgating or implementing the Head Start Mandate.

         28.     Defendant Xavier Becerra is the Secretary of Health and Human Services. He over-

 sees, among other things, the Administration for Children and Families and the Office of Head

 Start. He is sued in his official capacity.

         29.     Defendant United States Department of Health and Human Services is an executive

 department of the United States Government headquartered in Washington, D.C., and responsible

 for the Head Start program.

         30.     Defendant Jooyeun Chang is the Principal Deputy Assistant for Children and Fam-

 ilies. She is sued in her official capacity.

         31.     Defendant Administration for Children and Families is a division within HHS that

 is headquartered in Washington, D.C., and administers the Head Start program.

         32.     Defendant Bernadine Futrell is the director of the Office of Head Start. She is sued

 in her official capacity.

                                   JURISDICTION AND VENUE

         33.     This Court has subject-matter jurisdiction over this case because it arises under the

 Constitution and laws of the United States. See 28 U.S.C. §§1331, 1346, 1361; 5 U.S.C. §§701-

 06. An actual controversy exists between the parties within the meaning of 28 U.S.C. §§2201(a),

 and this Court may grant declaratory relief, injunctive relief, and other relief under 28 U.S.C.

 §§2201-02, 5 U.S.C. §§705-06, and its inherent equitable powers.

         34.     Defendants’ publication of the Mandate in the Federal Register on November 30,

 2021 constitutes a final agency action that is judicially reviewable under the APA. 5 U.S.C. §§704,

 706.




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         35.     Venue is proper in this Court under 28 U.S.C. §1391(e)(1) because (1) Defendants

 are United States agencies or officers sued in their official capacities, (2) the State of Louisiana is

 a resident of this judicial district, (3) no real property is involved, and (4) a substantial part of the

 events or omissions giving rise to the Complaint occur within this judicial district. See Atlanta &

 F.R. Co. v. W. Ry. Co. of Ala., 50 F. 790, 791 (5th Cir. 1982); Ass’n of Cmty. Cancer Ctrs. v. Azar,

 509 F. Supp. 3d 482 (D. Md. 2020).

                                            BACKGROUND

 I.      The Head Start Program.

         36.     Through the Head Start program, the Department of Health and Human Services

 provides funding for educational and related services to low-income families of preschool-age

 children. See 42 U.S.C. §§9831 et seq.; see, e.g., Doe v. Woodard, 912 F.3d 1278, 1286 n.2 (10th

 Cir. 2019) (“Head Start primarily functions as an educational institution for very young children”);

 Morse v. N. Coast Opportunities, Inc., 118 F.3d 1338, 1339 (9th Cir. 1997) (“The Head Start pro-

 gram is devoted to providing quality pre-school education to needy children”).

         37.     The statutorily-defined purpose of the Head Start program is “to promote the school

 readiness of low-income children by enhancing their cognitive, social, and emotional develop-

 ment[.]” 42 U.S.C. §9831.

         38.     Studies have shown that Head Start “improves educational outcomes—increasing

 the probability that participants graduate from high school, attend college, and receive a post-sec-

 ondary degree, license, or certification.” Diane Whitmore Schanzenbach and Lauren Bauer, The

 long-term     impact    of   the    Head     Start        program,   Brookings   (Aug.     19,    2016),

 https://brook.gs/3lQ6JNY.




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        39.     The Head Start program funds public, non-profit, and for-profit agencies that pro-

 vide preschool education. 42 U.S.C. §§9833, 9836(a).

        40.     The Administration for Children and Families, a federal agency within the Depart-

 ment of Health and Human Services, has primary responsibility for overseeing the Head Start

 program.

        41.     The Biden Administration has described Head Start educators as “essential workers

 who have been on the frontlines in the pandemic.” See President Biden Announces Vaccine Prior-

 ity for Child Care, Head Start, and Early Childhood Settings, Office of Head Start, Mar. 3, 2021,

 https://bit.ly/3rCcMJz.

        42.     States have direct and indirect interests in the Head Start grant program. Some

 States, like Georgia and Utah directly participate as grantees. PI Exs. B, O. They are directly reg-

 ulated by the Head Start Mandate and must either comply at considerable expense or lose their

 funding.

        43.     Some States also enforce Head Start standards. Id. They will “be required to collect

 individual health information on staff that are funded through this grant,” an endeavor for which

 the federal government provides no additional funding. PI Ex. B at 2.

        44.     All States have Head Start programs, which are important safety-net education pro-

 grams for pre-school aged children that improve educational readiness for entry into Kindergarten,

 but also provide critical health care and social support resources to families that States would have

 to find funding to backfill.

        45.     State funding is often blended into funding for these programs, and this program

 funding is often blended into school district funding. Losing federal funding will upset local school




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 district budgets and place new demands on local and state governments to find funding to support

 these programs to keep them open. See PI Ex. P.

         46.     Head Start funds sometimes go directly to public schools that have preschool pro-

 grams. See PI Exs. C, G, P. These Head Start programs are often “funded with different sources

 of state, federal, and local dollars.” PI Ex. P at 2.

         47.     At these public schools, qualifying low-income students are funded by Head Start

 and others are funded locally. These public schools anticipate that the Head Start Mandate will

 mean that they will have to segregate the low-income students and force them to wear masks while

 the other students are allowed to breathe freely. PI Ex. I at 2. In other words, as one Head Start

 Director explained, “the Head Start children, mostly ‘disadvantaged or poverty level,’ children

 would be the only children in the school wearing masks. Not only is this stigmatizing them, but it

 is also a form of segregation.” Id.

         48.     States have deeply entrenched and intertwined interests in the Head Start Program.

         49.     For example, Head Start programs have been operating in Alaska since 1965. There

 are currently 17 Head Start and Early Head Start programs in Alaska. These Head Start programs

 belong to one of two regions: Region X (Alaska, Washington, Oregon, and Idaho) and Region XI,

 which is specifically for Native populations (12 Tribal Grantees). The Alaska Department of Ed-

 ucation and Early Development is charged with the statutory duty to exercise general supervision

 over pre-elementary schools that receive direct state or federal funding. Alaska Stat.

 §14.07.020(a)(8).

         50.     The Alaska Department of Education and Early Development also has the regula-

 tory authority to review and approve applications for Head Start programs seeking to operate in




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 Alaska and the authority to conduct onsite or remote monitoring of pre-elementary schools, in-

 cluding Head Start programs. 4 AAC 60.036; 4 AAC 60.039.

        51.     The Commonwealth of Kentucky has approximately 400 Head Start centers oper-

 ating within its borders, many of which partner with public schools districts staffed by public em-

 ployees. See Head Start Center Locator, available at https://perma.cc/CS9D-NBCA; Head Start in

 Kentucky, available at https://perma.cc/668A-CL4D. According to the Kentucky Head Start As-

 sociation, Kentucky Head Start programs received $185,763,527 in federal funds in fiscal year

 2021. These funds support the attendance of 15,167 children in Head Start programs and approx-

 imately 2,402 children at Early Head Start programs. See id. These programs also employ 4,631

 paid staff who work in 1,151 classrooms throughout Kentucky. Id.

        52.     Kentucky also commits state funding to pre-school programs. Each year, school

 districts and Head Start programs enter into full utilization agreements to coordinate services to

 eligible children to avoid duplication of preschool services with the goal of serving as many chil-

 dren as possible. The Head Start Mandate threatens to upset this balance and place more burden

 on Kentucky to fund pre-school programs with state funds.

        53.     According to the Department of Health and Human Services’ Tracking Accounta-

 bility in Government Grants System website, entities in Ohio, including the Ohio Department of

 Education, received more than $392 million in Head Start funding in fiscal year 2021. Tracking

 Accountability in Government Grants System, https://taggs.hhs.gov/ (select “Advanced Search”

 and enter award title “Head Start” and Legal Entity State “Ohio”). As of 2019, more than 34,000

 low-income Ohio children enrolled in Head Start funded programs. See, Head Start Program Facts:

 Fiscal Year 2019, Department of Health and Human Services, https://bit.ly/3J3Jytq (last visited

 Dec. 16, 2021).




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          54.   States have long relied on Head Start as an integral part of their safety net and

 education services. See, e.g., PI Ex. C.

          55.   Nearly every State has an office that works with the federal government, pursuant

 to the creation of State and National Collaboration Offices authorized by Section 642B(a)(2)(A)

 of the Head Start Act, 42 U.S.C. 9837b. According to the Head Start Collaboration 2016 Annual

 Report, 22 States had Head Start Collaboration Offices inside their Departments of Education,

 while 15 were located in State Departments of Human or Social Services, 3 were in Departments

 of Commerce or Workforce Development, and 7 were in other State offices. See, Head Start Col-

 laboration Annual Report 2016, https://bit.ly/3dSiuyW.

          56.   Louisiana’s Early Childhood Care and Education Advisory Council, for example,

 was created though 2014 La. Acts 868 to inform policies related to the unification launched by

 2021 La. Acts. 3, which unified expectations for child care, Head Start, and pre-kindergarten pro-

 grams.

          57.   States also have parens patriae interests in protecting some of the most vulnerable

 people in their communities: children in poverty.

          58.   Congress charged the Secretary of Health and Human Services with certain admin-

 istrative responsibilities related to the Head Start program. See id. §9836a.

          59.   Specifically, Congress delegated to the Secretary limited authority to “modify”

 Head Start performance standards. Id. §9836a(a)(1). The Secretary’s power to modify standards

 includes—as invoked here—the authority to “modify, as necessary, program performance stand-

 ards by regulation … including … administrative and financial management standards; standards

 relating to the condition and location of facilities … and … such other standards as the Secretary

 finds to be appropriate.” Id. §9836a(a)(1)(C)-(E).




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        60.     Congress expressly prohibited the Secretary, in modifying standards, from doing

 anything that “result[s] in the elimination of or any reduction in quality, scope, or types of …

 services required to be provided” under the law as of 2007. Id. §9836a(a)(2)(C)(ii).

        61.     Congress also required the Secretary to “take into consideration ... the unique chal-

 lenges faced by individual programs, including those programs that are seasonal or short term and

 those programs that serve rural populations.” Id. §9836a(a)(2)(B)(x).

 II.    The Biden Administration’s Vaccine and Mask Policy.

        62.     As President-Elect, Mr. Biden promised he “d[id]n’t think [vaccination] should be

 mandatory” and “wouldn’t demand it be mandatory.” Jacob Jarvis, Fact Check: Did Joe Biden

 Reject Idea of Mandatory Vaccines in December 2020, Newsweek (Sept. 10, 2021),

 https://bit.ly/3ndyTn5. Once he took office, his Administration’s policy was: “The government is

 not now, nor will we be supporting a system that requires Americans to carry a [vaccine] creden-

 tial.” See Press Briefing by Press Secretary Jen Psaki, April 6, 2021, https://bit.ly/3rBJVoL. At the

 time, the Administration conceived of the federal executive’s role as ensuring that “Americans’

 privacy and rights [were] protected” and that the vaccine rollout is “not used against people un-

 fairly.” Id. Even as recently as this summer the Biden Administration continued to disclaim au-

 thority to mandate that Americans get a COVID-19 vaccine. See, e.g., Press Briefing by Press

 Secretary Jen Psaki, July 23, 2021, https://bit.ly/3pWnJVr (mandating vaccines “not the role of

 the federal government”).

        63.     Mr. Biden also took the position that the federal executive power to mandate masks

 was narrow. He explained that, as President, “I cannot mandate people wearing masks.” Transcript

 of CNN Presidential Town Hall with Joe Biden, CNN, Sept. 17, 2020, https://cnn.it/3rFcxNZ. Ra-

 ther, he said the President could mandate masks only on federal property and in federal buildings:




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 “On Federal land, I’d have the authority. If you’re on Federal land, you must wear a mask. In a

 Federal building, you must wear a mask and we could have a fine for them not doing it.” Id.; see

 also Read the full transcript of Joe Biden's ABC News town hall, ABC News, Oct. 15, 2020,

 https://abcn.ws/3dpbidj. (“you can’t mandate a mask”). As President-Elect, Mr. Biden explained

 that he would, upon taking office, “require masks everywhere I can,” which meant only on federal

 land. Joe Biden (@JoeBiden), Twitter (Dec. 9, 2020, 8:59 a.m.), https://bit.ly/3dmWYC4 (empha-

 sis added); see also Executive Order 13991 of January 20, 2021: Protecting the Federal Workforce

 and Requiring Mask-Wearing, 86 Fed. Reg. 7045 (Jan. 25, 2021).

        64.     As Defendants acknowledge, the Administration for Children and Families “ini-

 tially chose, among other actions, to allow Head Start programs to decide whether or not to require

 staff vaccination rather than require vaccination.” 86 Fed. Reg. at 68054.

        65.     But as time passed, the President announced that his “patience” began “wearing

 thin” with those “who haven’t gotten vaccinated.” White House, Remarks by President Biden on

 Fighting the COVID-⁠19 Pandemic (Sept. 9, 2021), https://bit.ly/3Ey4Zj6. He expressed similar

 disdain for those who opposed mask mandates, calling their concerns “ugly” and “wrong.” Id.

        66.     So, in early September 2021, the Administration abandoned persuasion for brute

 force and announced an unprecedented series of federal mandates, aimed at compelling most of

 the adult population of the United States to get a COVID-19 vaccine and at expanding mask man-

 dates. Id. His program sought to “increase vaccinations among the unvaccinated with new

 vaccination requirements” and to “increas[e] masking.” Id.; see also The White House, Path Out

 of the Pandemic: President Biden’s Covid-19 Action Plan, https://bit.ly/3adkMXx; The White

 House, Vaccination Requirements Are Helping Vaccinate More People, Protect Americans from

 COVID-19, and Strengthen the Economy (Oct. 7, 2021), https://bit.ly/3lorbp0.




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        67.     In part, those vaccine and masking requirements include the policy challenged here.

 In his September address, President Biden announced that he would impose—through unilateral

 executive action—a vaccine mandate on “all of nearly 300,000 educators” in Head Start programs.

 Biden Sept. 9, 2021 Remarks, supra.

        68.     In announcing those mandates, President Biden declared that he was “tak[ing] on

 elected officials and states” and that he would “use my power as President to get them out of the

 way.” Id.

 III.   The Head Start Mandate.

        69.     Over two months later, on November 30, 2021, HHS published an interim final rule

 requiring (1) vaccination of Head Start staff, volunteers, and anyone else who comes in contact

 with Head Start children and (2) masking of all Head Start children two years or older and all

 adults. See Vaccine and Mask Requirements To Mitigate the Spread of COVID–19 in Head Start

 Programs, 86 Fed. Reg. 68052 (Nov. 30, 2021).

        70.     The Head Start Mandate’s vaccine requirement demands that a wide range of Head

 Start personnel—all staff, all contractors who come into contact with or provide direct services to

 children and families, and all volunteers in classrooms or working directly with children—submit

 to full Covid vaccination. 86 Fed. Reg. at 68101; 45 C.F.R. §§1302.93(a)(1), 1302.94(a)(1). It

 adopts the moving standard of “fully vaccinated” as defined by the CDC, which currently means

 the primary doses of an approved vaccine. See 86 Fed. Reg. at 68060.

        71.     Other than those who can establish a medical exception and those entitled to ac-

 commodation under existing federal law, the Mandate provides no alternative to vaccination. 45

 C.F.R. §§1302.93(a)(1); 1302.94(a)(1). The Mandate does not offer a testing alternative for those

 unwilling to submit to vaccination. See id. For those who qualify for an exemption, the Program

 must conduct, track, and document testing weekly (at least) and is not provided funds to do so.


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        72.     The Head Start Mandate’s masking requirement forces all children two years old

 and older, and all adults, to wear masks (1) “indoors in a setting when Head Start services are

 provided,” (2) “for those not fully vaccinated”—which includes all preschool-age children—“out-

 doors in crowded settings or during activities that involve sustained close contact with other peo-

 ple,” and (3) in a Head Start vehicle with another person. 86 Fed. Reg. at 68101; 45 C.F.R.

 §1302.47(b)(5)(vi). The mask must cover the person’s chin, mouth, and nose. 86 Fed. Reg. at

 68060 (“the Toddler Mask Mandate”).

        73.     Children and adults may take off their masks only when eating, drinking, or nap-

 ping. 45 C.F.R. §1302.47(b)(5)(vi). They may not show their faces to each other in any other

 circumstances. See id.

        74.     Programs are required to provide masks using existing funds or American Rescue

 Plan funds (while they last), which may not have been distributed to them.

        75.     Effective “immediately” as of publication of the Mandate, teachers are required to

 enforce the Toddler Mask Mandate with corrective measures under threat of teacher discipline.

 Specifically, the Mandate dictates that teachers implement “reminders and reinforcements to com-

 ply with this new practice,” while also abiding “by the Standards of Conduct outlined in 1302.90

 Personnel Policies in the Head Start Program Performance Standards, namely that staff, consult-

 ants, contractors, and volunteers implement positive strategies to support children’s well-being

 and do not use harsh disciplinary practices that could endanger the health and safety of children.”

 86 Fed. Reg. 68060.

        76.     All adults and toddlers must submit to the mask requirement unless they are already

 protected by federal disability law, a religious exemption, or “a child’s health care provider advises




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 an alternative face covering to accommodate the child’s special health care needs.” Id.

 §1302.47(b)(5)(vi)(C)-(D).

         77.     Beyond that, the Toddler Mask Mandate requires anyone at a Head Start program—

 including parents visiting, dropping their children off, or picking them up—to wear masks.

         78.     The Head Start Mandate includes no exception for people with natural immunity.

         79.     The Head Start Mandate includes no exception for people who test negative for

 Covid before entering school each day. While those who fall into preexisting exceptions must

 submit to testing, anybody else who tests negative—no matter how often—must nonetheless sub-

 mit to the vaccine and masking requirements.

         80.     HHS made the Mandate’s masking requirements enforceable immediately and the

 vaccine requirements enforceable on January 31, 2022. 86 Fed. Reg. at 68052. A person is consid-

 ered fully vaccinated two weeks after completing a primary vaccination series, which can itself

 take several weeks to complete. Id. at 68060.

         81.     The Office of Head Start is advising staff and volunteers who want to keep their

 jobs to get their first Moderna shot by January 3, their first Pfizer shot by January 10, or their single

 Johnson & Johnson shot by January 31. Vaccine and Mask Requirements to Mitigate the Spread

 of COVID-19 in Head Start Programs at 15, Office of Head Start (Dec. 2, 2021),

 https://bit.ly/3Gw4Sp8.

         82.     And while the deadlines are fixed, issues arising with these vaccines continues to

 develop. Notably, within days from the time this Mandate was issued, the CDC conducted an

 emergency meeting to review new data and update recommendations on the Johnson & Johnson

 vaccine. That meeting resulted in a committee of advisors to the CDC recommending against using




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 the Johnson & Johnson vaccine due to concerns about blood clots. The CDC has also, as of De-

 cember 14, 2021, updated its Fact Sheet on the risks of this vaccine to individuals 18 years and

 older. See Coronavirus (COVID-19) Update: December 14, 2021; https://bit.ly/3qadGux.

        83.      The definition of fully vaccinated depends on the CDC’s definition, so it could soon

 include more shots—and, as noted above, may exclude some shots. See id.; see also Lexi Lonas,

 Fauci says changing definition of fully vaccinated to include boosters is ‘on the table’, The Hill

 (Nov. 24, 2021), https://bit.ly/3Iyczgp.

        84.      If a Head Start provider does not comply with the Mandate, the Secretary must

 initiate proceedings to terminate its funding. 42 U.S.C. §9836a(e)(1)(C).1

 IV.    HHS’s Bypass of Notice and Comment.

        85.      In enacting the Mandate, HHS evaded the APA’s notice-and-comment require-

 ments. Id. at 68058.

        86.      HHS invoked the following reasons for evading the APA’s notice-and-comment

 requirements:

              a. HHS cited the number of Covid cases, particularly of the Delta variant. Id. at 68058.

                 Specifically, HHS said that Covid cases, hospitalizations, and deaths were higher

                 than they were at some point about six months earlier, although it acknowledged a

                 “trend downward” in recent months. Id. HHS also pointed to “potential increases”

                 in some states—particularly “northern states.” Id.




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   The governing provision states that “[i]f the Secretary determines … that a Head Start agency …
 fails to meet the standards described in subsection (a)(1) … the Secretary shall … initiate proceed-
 ings to terminate the designation of the agency unless the agency corrects the deficiency.” The
 “standards described in subsection (a)(1)” are those that HHS purports to be making in enacting
 the Mandate. See 86 Fed. Reg. 68053.


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              b. HHS pointed to the “large COVID–19 wave in the winter of 2020,” combined with

                 the fact that “30 percent of people aged 12 years and older” were not fully vac-

                 cinated as of November 2021. Id. at 68058 (emphasis added).

              c. HHS invoked certain data concerning vaccine effectiveness. Id. HHS repeatedly

                 emphasized its view that “COVID–19 vaccines are a key component in controlling

                 the COVID–19 pandemic” and are “highly effective.” Id. at 68059. It also empha-

                 sized that the vaccines are effective against the Delta variant. Id.

              d. HHS cited the vaccines’ effectiveness against asymptomatic infection, as demon-

                 strated in a study ending on August 14, 2021, along with “[e]merging evidence”

                 that vaccinated people “have the potential to be less infectious” in transmitting the

                 Delta variant. Id. at 68059.

              e. HHS relied on the “failure to achieve sufficiently high levels of vaccination based

                 on voluntary efforts and patchwork requirements, potential harm to children from

                 unvaccinated staff, continuing strain on the health care system, and known efficacy

                 and safety of available vaccines.” Id.

        87.      HHS acknowledged that the Mandate derived from President Biden’s September

 speech, which was 82 days before it published the Mandate. Id. at 68069.

 V.     HHS’s Claimed Statutory Authority.

        88.      HHS purports to derive the authority for the Mandate from a single statutory pro-

 vision. See 86 Fed. Reg. 68053; 42 U.S.C. §9836a(a)(1)(C)-(E). In truth, that statutory provision

 gives HHS only limited administerial power to modify performance standards.

        89.      That sole provision relied on by HHS states that:




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           The Secretary shall modify, as necessary, program performance standards by regu-
           lation applicable to Head Start agencies and programs under this subchapter, in-
           cluding …

           (C) administrative and financial management standards;

           (D) standards relating to the condition and location of facilities (including indoor
           air quality assessment standards, where appropriate) for such agencies, and pro-
           grams, including regulations that require that the facilities used by Head Start agen-
           cies (including Early Head Start agencies and any delegate agencies) for regularly
           scheduled center-based and combination program option classroom activities …
           shall meet or exceed State and local requirements concerning licensing for such
           facilities; and … shall be accessible by State and local authorities for purposes of
           monitoring and ensuring compliance, unless State or local laws prohibit such ac-
           cess; and

           (E) such other standards as the Secretary finds to be appropriate.

 Id. §9836a(a)(1)(C)-(E).

           90.    The statute expressly forbids HHS to modify standards in any way that reduces the

 quality or scope of any Head Start services. As the statute provides, the Secretary, “[i]n developing

 any modifications to standards,” must “ensure that any such revisions in the standards will not

 result in the elimination of or any reduction in quality, scope, or types of health, educational, pa-

 rental involvement, nutritional, social, or other services required to be provided under such stand-

 ards as in effect on December 12, 2007.” Id. §9836a(a)(2)(C)(ii).

 VI.       HHS’s Omissions.

           91.    HHS did not address why it delayed its rulemaking for 82 days after the President’s

 speech.

           92.    HHS does not explain whether the “substantial health benefits,” 86 Fed. Reg. at

 68064, it accounts for the effects of vaccines over time. See Barbara A. Cohn, SARS-Cov-2 vaccine

 protection and deaths among US veterans during 2021, Science (2021), https://bit.ly/307PLCP

 (reporting that within six months, efficacy of vaccines against infection declined to 13% (Johnson

 & Johnson), 43% (Pfizer), and 58% (Moderna)). See also Ex. S.


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            93.     HHS did not explain why it did not require toddlers to wear masks in the Head Start

 program before now, including when case numbers were higher and everybody was unvaccinated

 and despite President-elect Biden stating in December 2020, that he would require masks “every-

 where       [he]   can.”   Joe   Biden    (@JoeBiden),    Twitter   (Dec.   9,   2020,   8:59   a.m.),

 https://bit.ly/3dmWYC4. HHS also did not explain why it would require masks now despite the

 fact that such a requirement was not mentioned in President Biden’s COVID-19 action plan. That

 plan described mandatory vaccination in Head Start and increased penalties for failing to abide by

 other mask mandates. See The White House, Path Out of the Pandemic: President Biden’s Covid-

 19 Action Plan, https://bit.ly/3adkMXx.

            94.     HHS did not explain why it failed to consider the alternative of natural immunity.

 Emerging studies and experts support the conclusion that natural immunity can afford benefits

 comparable to or better than vaccination. See PI Ex. S at 19-22; see also, e.g., Sivan Gazit et al.,

 Comparing SARS-CoV-2 natural immunity to vaccine-induced immunity: reinfections versus

 breakthrough infections, Medrxiv (Aug. 25, 2021), https://bit.ly/3DnKzIZ (“This study demon-

 strated that natural immunity confers longer lasting and stronger protection against infection,

 symptomatic disease and hospitalization caused by the Delta variant of SARS-CoV-2, compared

 to the BNT162b2 two-dose vaccine-induced immunity. And it is unclear if vaccination of an indi-

 vidual who has natural immunity will provide any perceptible benefit in fighting future infec-

 tion.”).

            95.     HHS acknowledged that closing programs harms children and families, even re-

 sulting in increased incidents of domestic violence, but did not acknowledge that many programs

 have been open for months and would close or lose capacity to serve their existing enrollment of

 children as a result of the Mandate. In light of the Mandate’s identification of which programs




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 closed and when they reopened and how, HHS appears to have readily available information re-

 garding the impact of the Mandate on already-open programs, but did not engage with this issue

 at all.

           96.    HHS acknowledged Head Start is a critical feature of early childhood education but

 did not acknowledge that States’ have relied upon and aligned their early childhood educations

 programs with Head Start programming. See, e.g. Louisiana’s Birth to Five Early Learning & De-

 velopment Standards, Dep’t of Education, https://bit.ly/3p0JRwQ (discussing the importance of

 early childhood for school readiness and later school success).

           97.    HHS did not evaluate impairment to children who are English as a Second Lan-

 guage learners, or the corresponding impact on the public school systems caused to this population

 when programs close due to the Mandate.

           98.    HHS did not consult with States or acknowledge that closure of programs due to

 the Mandate will cause children to lose critical early childhood educational opportunities, which

 will impair academic and social performance and retention rates and increase referrals to special

 education, all of which will cause short term and long term harm to the State’s most vulnerable

 residents and will cost the States more in remediating for these lost programs.

           99.    HHS did not engage with research that shows that unnecessary corrective and neg-

 ative interaction with Toddlers, as it acknowledges will likely occur with two and three years olds

 due to the Toddle Mask Mandate, results in a loss of teaching time and impairs the bonding rela-

 tionship between the teacher and the child.

           100.   HHS did not address or engage with hygiene issues created by requiring two and

 three year olds to wear masks.




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        101.    HHS did not engage with the actual cost or accessibility of tests in the short or long

 term, and the likely impairment to Programs caused by the diversion of funds or inability to backfill

 the lack of or eventual loss of funds to pay for masks or tests.

        102.    Though several rulings had already been issued raising serious constitutional con-

 cerns about federal vaccine mandates, HHS did not engage at all with this series of recent decisions

 enjoining these mandates as unlawful.2

        103.    HHS did not address its legal basis for adding new conditions to a pre-existing grant

 program without any directive from Congress.

 VII.   The Targeted Workers and Children.

        104.    According to HHS, the Head Start Mandate targets 273,000 staff, up to one million

 volunteers, and up to 864,289 children at America’s 20,717 Head Start Centers. 86 Fed. Reg. at

 68068-69, 68077. It applies to the staff regardless of whether they work in-person or remotely.

        105.    HHS’s “baseline scenario” estimated that 55,121 staff were unvaccinated. Id. at

 68078. On that assumption, combined with HHS’s estimate of 29,953 staff who would submit to

 the Mandate, 25,169 staff would remain unvaccinated. Even with HHS’s assumption that 13,650

 staff would receive an exemption, id. at 68094, the Mandate would cause Head Start programs to

 fire 11,519 staff. If those same proportions held as to volunteers, the Mandate would cause Head

 Start programs to banish 42,000 volunteers. (The National Head Start Association Survey provides

 data suggesting Head Start programs may lose 50% of their staff, or up to 60,000 people.)



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   See BST Holdings, L.L.C. v. Occupational Safety & Health Admin., United States Dep't of Lab.,
 17 F.4th 604 (5th Cir. 2021) (enjoining OSHA vaccine mandate); Missouri v. Biden, No. 4:21-
 CV-01329-MTS, 2021 WL 5564501 (E.D. Mo. Nov. 29, 2021) (enjoining CMS vaccine mandate);
 Louisiana v. Becerra, No. 3:21-CV-03970, 2021 WL 5609846 (W.D. La. Nov. 30, 2021) (enjoin-
 ing CMS vaccine mandate); Kentucky v. Biden, No. 3:21-CV-00055-GFVT, 2021 WL 5587446,
 (E.D. Ky. Nov. 30, 2021) (enjoining federal-contractor vaccine mandate); Georgia v. Biden, No.
 1:21-CV-163, 2021 WL 5779939 (S.D. Ga. Dec. 7, 2021).


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        106.    HHS’s “lower-bound scenario” estimated that 30 percent of staff are unvaccinated,

 five percent would be entitled to exemptions, and ten percent would submit to the Mandate. Id. at

 68077-78. The remaining 45,500 paid staff would be fired and 151,500 willing volunteers would

 be banished from Head Start programs. Id. This “lower-bound” estimate that 30 percent of staff

 are unvaccinated is based on data showing that among adult Americans, 30 percent are unvac-

 cinated. See id.

        107.    On either assumption, the Head Start Mandate’s vaccine requirements would force

 tens of thousands of staff and volunteers to submit to the vaccination against their wishes—or, as

 HHS puts it, become “fully vaccinated attributable to the interim final rule.” Id. at 68078. And on

 either assumption, the Head Start Mandate prohibit tens of thousands of staff and volunteers from

 providing critical services to vulnerable children.

        108.    The National Head Start Association surveyed Head Start programs and found that

 at 20% of Head Start programs, less than half of the staff is vaccinated. PI Ex. A at 3. At another

 31% of Head Start programs, between 50% and 70% of the staff is vaccinated. Id.

        109.    The National Head Start Association’s survey showed that over one-fourth of Head

 Start programs anticipate losing more than 30% of their staff. Id. All told, the results indicated that

 “Head Start programs stand to lose between 46,614 and 72,422 staff.” Id.

        110.    Because the Head Start Mandate’s vaccine requirements will apply to everybody

 who the CDC considers to be not “fully vaccinated,” it could soon apply to hundreds of thousands

 more staff and volunteers. Only about 25 percent of American adults have chosen to take a third

 shot, and none have received a fourth shot. See Ed Browne, Americans Aren’t Getting Enough

 Booster Shots, and It’s Causing a Serious Problem (Dec. 7, 2021), https://bit.ly/3IB7zYr. Mean-

 while, the Toddler Mask Mandate would force practically all of the 864,289 children subject to it




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 to either submit to masking, expend funds they may not have to obtain medical exemptions, or

 surrender their preschool education.

         111.    The Head Start Mandate creates conflicts between programs’ compliance with State

 and federal laws, and requires participants to give up rights protected by State law.

         112.    For example, in Louisiana, parents and students would be denied their State law

 right to opt-out of a vaccine requirement for any reason. See La. R.S. 17:150(E). In other States,

 such as Montana, Alabama, and Florida, Programs would be placed in direct conflict with state

 law prohibitions on vaccine mandates. See, e.g., Mont. H.B. 702 (2021); Ala. Act. 2021-493 §1(a);

 Fla. H.B. 1B (2021).

         113.    The Mandate conflicts with Alaska Constitution and Alaska statutes. Alaskans’

 fundamental right to privacy is enshrined in Alaska Constitution Article I, Section 22. The Alas-

 kan’s fundamental right to privacy protects their ability to make decisions about medical treatment

 for themselves and their minor children unless there is no less restrictive alternative. Further, the

 State of Alaska enacted a statute that grants its citizens the right to refuse COVID-19 vaccination

 based on religious, medical, and other grounds, and no person may require documentation or jus-

 tification for the refusal. Sec. 17, ch. 2, SLA 2021. See also, §§381.00317, 112.0441, 381.00319.

         114.    And the Head Start Mandate would force all of the 273,000 staff and nearly one

 million volunteers to either submit to masking or leave Head Start. HHS did not estimate or ap-

 parently even examine how many children, staff, or volunteers would leave the program due to the

 Head Start Mandate.

         115.    As Defendants admit, enforcing the Toddler Mask Mandate will require frequent

 staff physical corrective intervention: “It should be noted that like all new skills, children will need

 to be taught the proper way to put a mask on and keep a mask on. While children are adaptable,




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 they are still in the early stages of development and may need reminders and reinforcements to

 comply with this new practice.” 86 Fed. Reg. at 68,060. Reports from those on the frontlines con-

 firm the obvious: “It is extremely difficult and labor-intensive to enforce a mask mandate on three

 and four year old children, who are very active and do not understand why they should wear a

 mask.” PI Ex. C. at 3.

 VIII. The Implications for Children and Families.

        116.    As a result of the Head Start Mandate, staff and volunteers will likely leave the

 Head Start program. As a natural and foreseeable result, certain providers will close and children

 from low-income families in affected areas will be denied access to the preschool education that

 Congress guaranteed them and children who are denied access to preschool education will miss

 out on crucial years of development. Those programs that do not close entirely still may have to

 decrease enrollment capacity to meet teacher-student ratios. Parents will have to leave their jobs

 or hire others to take care of them. And States and local school boards will have to immediately

 address the impairment to early-childhood education program alignment with entry into Kinder-

 garten programs.

        117.    The National Head Start Association’s survey of Head Start programs found that

 the closures would be worse than the Mandate anticipated. “When asked if classrooms would need

 to close if the vaccine mandate was implemented on January 31,” as it is scheduled to be, a full

 50% of respondents said “yes.” PI Ex. A at 3. Another 32% were “unsure.” Id. Only 18% said no.

 Id. As the survey acknowledged, if even just the first 50% of programs “have to close classrooms

 when the mandate goes into effect, the survey results suggest that 1,324 classrooms will close.”

 Id.




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         118.    Staff, public school superintendents, and Head Start Directors bear witness to the

 extent of destruction that the Mandate will cause.

         119.    Many Head Start staff across America are like Lisa Sanburn. Ms. Sanburn, a Head

 Start Teacher’s Assistant, has worked at the same Head Start program in Grant Parish for 17 years.

 See PI Ex. M at 1. She and her fellow teachers “love this program,” and “work on our own time,

 after hours to better provide for our students.” Id. at 2. “Like a lot of teachers, we don’t stop caring

 for and worrying about our students when the bell strikes at the end of the day. We take them home

 with us in our hearts.” Id. But when the Head Start Mandate was announced, both Sanburn and the

 lead teacher in her program “applied for and were denied religious exemptions from the vaccine

 mandate.” Id. They are the only two teachers at their program and now, unless the Mandate is

 enjoined, will be fired before Christmas. Id. “Those students who are under our care will either

 return from Christmas break to teachers they do not know or they won’t be able to return at all.”

 Id. And for what? “We don’t want anything more than to be able to do our jobs.” Id.

         120.    Tammie Slayter, a Head Start Teacher, has worked for Head Start for twenty years.

 PI Ex. N at 1. She “do[es] not feel comfortable receiving” the COVID-19 vaccine. Id. at 2. She

 applied for a religious exemption and was effectively denied when she was told that she would be

 placed on administrative leave or “considered to have voluntarily resigned” if she had not submit-

 ted to the first dose of a vaccine by December 17, 2021. Id. Her firing is all the more arbitrary in

 light of the fact that her program remains closed due to damage that it sustained in Hurricane

 Laura. Id.

         121.    Amanda Gros, a Head Start Teacher, reports that her job and the job of the only

 other Head Start staff at her center have already been posted for new applicants because the two

 of them will not submit to the Mandate. PI Ex. L at 1-2. “[W]e are being told to choose between




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 our jobs where we serve kids that we love and our principles which are our right to believe in,”

 and as a result, “the center will likely temporarily close.” Id.

        122.    Jami Jo Thompson is a public school superintendent with extensive Head Start part-

 nerships, including Head-Start-funded students within her public schools. PI Ex. C at 1. “Immedi-

 ately upon notification of this possible mandate, staff indicated that they would not take the vaccine

 and that they believe it is a violation of their human rights for us to try to force the vaccine on

 them.” Id. at 2. She anticipates that her staff will either resign or be fired. Id. “Ultimately, if we

 cannot staff our program, we cannot keep it running.” Id. She also worries that her program may

 receive its $178,000 in annual federal funding. Id.

        123.    Jeff Powell, Superintendent of the Rapides Parish School Board, which serves 628

 Head Start children, explained that “[a]pproximately twenty percent of my staff members and vol-

 unteers currently do not meet the mandate” and “[t]he loss of just one of these staff members means

 that we will not be able to provide the same amount and quality of care to our families and students

 as before the rule.” PI Ex. E at 2.

        124.    Similarly, Wes Watts, Superintendent of the West Baton Rouge Parish School Sys-

 tem, explained that the Mandate “is likely to achieve the exact opposite” of its stated purpose of

 “ensur[ing that early childhood centers safely remain open.” PI Ex. D at 2. He anticipates that the

 Mandate will force programs to exclude needy children due to staff shortages. Id.

        125.    Head Start Directors report that “Staff members and volunteers have advised [them]

 that they are prepared to quit should their exemptions from vaccination not be granted,” PI Ex. F

 at 2, and that “a number of vital staff … have decided not to be vaccinated and may not meet an

 exemption or be agreeable to weekly testing” and have “advised [them] that they are prepared to

 resign due to this mandate,” PI Ex. I at 3; see also PI Ex. Q at 3. They predict that they will lose




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 around “35% of staff due to this mandate.” PI Ex. I at 3. In the end, they “will have to shut down

 classrooms and, in some cases, entire centers[.]” PI Ex. J at 2. One Head Start Director reports that

 “the program sees the potential of losing approximately 42-49% of its staff” due to the Mandate

 unless they all receive exemptions. PI Ex. G at 2.

         126.    Another Director reports that the program has already “lost three staff members

 since the mandate was shared with the staff” and if the Mandate goes into full effect, they “will

 lose between 27-30% of our existing families and children [they] serve.” PI Ex. H at 2; see also PI

 Ex. O at 5-6 (“To date at least 3 full time staff have submitted resignations based on the Biden

 Administration Head Start COVID 19 vaccine and mask requirements. More resignations are an-

 ticipated.”).

         127.    A recent news report highlighted a Head Start preschool serving 164 children,

 where “[m]ore than half of the licensed teaching staff has told [the principal] they will not get

 vaccinated.” Chad Frey, Vaccine mandate affecting Newton Head Start staff, The Kansan (Nov. 9,

 2021), https://bit.ly/3oB1dQL. The principal anticipated that such an exodus would force the pre-

 school to close. Id.

         128.    A recent survey of 28 Head Start grantees from the Executive Director of the Ken-

 tucky Head Start Association returned alarming results. Approximately 35% of those grantees re-

 ported that they had 89% or less of their full staffing levels. Grantees surveyed anticipated firing

 approximately 17% of the staff who will refuse to be vaccinated and not qualify for an exemption,

 creating or exacerbating staffing shortages. The 14 grantees responding to the survey also esti-

 mated that approximately 40% of contractors and other service providers—e.g. specialist mental

 health providers, and occupational therapist—will not comply with the Head Start Mandate by the




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 January 31, 2022 deadline causing a deterioration of the quality and scope of services offered to

 Head Start children.

        129.    With only 54% of the Kentucky population vaccinated and no state or school vac-

 cination mandates, the Head Start Mandate will cause staffing shortages at Head Start Programs

 in Kentucky and the loss of critical services to some of Kentucky’s most vulnerable citizens, par-

 ticularly in rural areas where rates are lower than the state average. See Kentucky Covid-19 Vac-

 cination Dashboard, https://perma.cc/V9RL-9GY5 (click on “View Dashboard”) (last visited Dec.

 14, 2021).

        130.    The Head Start Mandate will also impact many Kentucky school districts partner-

 ing with Head Start grantees for on-site classrooms and services. These school districts employ

 support staff, including cafeteria workers, bus drivers and janitorial staff that come into contact

 with children in Head Start programs. These employees are not currently subject vaccination re-

 quirements, and some will not voluntarily agree to get a vaccine. In fact, Kentucky grantees sur-

 veyed stated that around 50% of the school district partners will refuse to comply with the Head

 Start Mandate, and approximately 34% may withdraw from current contracts, agreements or

 MOUs with Head Start programs. Consequently, a significant number of Head Start programs at

 these school district locations cannot continue to offer Head Start services if forced to comply with

 the Head Start Mandate.

        131.    These programs will not be able to replace these teachers. The requirements for

 being hired by Head Start are often more strenuous than those for being hired by a public school,

 but the pay is lower. See PI Exs. C, D, E, F, Q. The process for hiring new staff takes considerable

 time at any time, let alone in the middle of the school year. See PI Exs. F at 3, G at 3; R at 5.

 Furthermore, many Head Start programs already are suffering from a tight labor market and were




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 unable to fill open positions before the Mandate. PI Exs. G. at 2; J at 3; P at 4; R at 4. When they

 finally find teachers to whom they want to offer jobs, those teachers sometimes refuse to accept

 specifically because of the Mandate. See PI Ex. G at 2.

         132.    As the superintendent of the Iberville Parish School System, Arthur M. Joffrion,

 Jr., attested, “[w]e cannot, as Head Start representatives cavalierly suggested to us a zoom call

 about this new rule, ‘just get rid of the ones who won’t get vaccinated and use their salaries to

 advertise for someone better to fill their position.’ That is a ridiculous suggestion on its face and

 especially in light of the teacher shortage across the nation.” PI Ex. P at 4. In fact, his district has

 “the highest starting salaries of any Parish in Louisiana and yet there are still [preexisting] vacan-

 cies. Our teachers and assistants are not so easily replaced.” Id.

         133.    Even putting aside the exodus of irreplaceable teachers, the Mandate will cause

 Head Start programs to reduce their services or close because of the compliance costs that it im-

 poses. The Head Start programs will have to make budget cuts to pay for gathering medical rec-

 ords, enforcing vaccination schedules, buying masks for the low-income children who will be

 forced to wear them, and supplying tests for their exempted staff and volunteers. See, e.g., PI Ex.

 E. at 3 (“Whether we comply or not, centers will be forced to make drastic cuts on programming

 in order to implement the mandate from existing funds.”); id. at 2 (“We cannot afford to spend that

 much money a week on testing 20% of our staff indefinitely.”); see also PI Exs. D, E.

         134.    As Joffrian explained, “the regulatory, logistical, and administrative costs associ-

 ated with the development of policies and documentation of exemptions surrounding compliance

 would be sky high.” PI Ex. P at 3. He anticipates being forced to “make drastic cuts on program-

 ming in order to implement the mandate from existing funds or risk losing our funds entirely if we

 don’t comply.” Id. at 4. Because his programs “would be forced to comply or lose funding,” and




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 because compliance itself is so costly, “that is really just a choice between slowly shutting down

 and shutting down immediately.” Id. at 3.

        135.    As HHS acknowledges, these hardships will fall disproportionately on members of

 minority communities. In 2019, “37% of Head Start children were Hispanic or Latino,” “30% were

 Black or African American, 10% were biracial or multiracial, 4% were American Indian or Alaska

 Native, and 2% were Asian.” 86 Fed. Reg. at 68098. Affected non-student populations are simi-

 larly diverse: “71 percent of families, and 69 percent of staff, self-identify as Hispanic/Latino,

 Black/African American, American Indian, or Alaska Native.” Id. at 68056.

        136.    Some parents will likely remove their child from Head Start programs due to the

 Toddler Mask Mandate. When New York imposed a similar mask mandate in September, parents

 “withdr[ew] their children from the [covered] day care and [were] looking other options to avoid

 masking.” See Tyler Brown, Day care says parents are removing kids due to state masking man-

 date, ABC/WHAM (Sept. 16, 2021), https://bit.ly/3y8ltMU. In other places, parents have quit their

 jobs to homeschool their children to ensure that the children are not forced to mask. See, e.g.,

 Kailey Schuyler, Parents pulling students out of school systems due to mask mandates,

 WAFF/NBC (Aug. 15, 2021).

        137.    Head Start directors explain that “[i]t is not only the vaccine mandate that would

 cause an exit of staff and children, but the federal masking mandate as well.” PI Ex. I at 3. “Many

 parents,” they report, “are upset about the masking mandate.” PI Ex. G at 3. Thus, “many parents

 have threatened to remove their children from SUU Head Start if the Biden Administration re-

 quirements become mandatory.” PI Ex. O at 6. And as one director explained, “[t]he majority of

 our parents do not want their young children masked and no schools in our local service area

 masked children below middle school.” PI Ex. I at 3.




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         138.    For those who are required to comply, the Toddler Mask Mandate may cause psy-

 chological and health problems. As Pediatric Nurse Anthony Luczak attests, it is “fundamentally

 important in development for children to see the faces of their peers and caregivers,” “I have had

 to treat cases of children with mask related medical issues,” and “reinforcement of wearing masks

 because of the threat of the pandemic is a reinforcement of fear that directly is triggering a toxic

 stress in children’s lives.” PI Ex. T at 3-4.

         139.    The World Health Organization itself has concluded that “based on the safety and

 overall interest of the child and the capacity to appropriately use a mask,” “children aged 5 years

 and under should not be required to wear masks.” Coronavirus disease (COVID-19): Children and

 masks, World Health Organization (Aug. 21, 2020), https://bit.ly/3Gxzg2n.

         140.    Studies show that masking children is not effective in stemming the spread of

 Covid-19 and poses other risks to children, especially toddlers. See, e.g., Krista Conger, Surgical

 masks reduce COVID-19 spread, large-scale study shows, Stanford Medicine (Sept. 1, 2021),

 https://stan.md/3s9nkjs (showing no statistically significant difference in wearing cloth masks vs.

 nothing at all); Suresh K. Sharma et al., Efficacy of cloth face mask in prevention of novel corona-

 virus infection transmission: A systematic review and meta-analysis, 9 J. Educ. Health Promot.

 192 (2020), https://bit.ly/3E0F8jk (“Cloth masks show minimum efficacy in source control”);

 Coronavirus disease (COVID-19): Children and masks, World Health Organization (Aug. 21,

 2020), https://bit.ly/3Gxzg2n. (“An international and multidisciplinary expert group brought to-

 gether by WHO reviewed evidence on COVID-19 disease and transmission in children and the

 limited available evidence on the use of masks by children. Based on this and other factors such

 as childrens’ psychosocial needs and developmental milestones, WHO and UNICEF advise the

 following: Children aged 5 years and under should not be required to wear masks.”).




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        141.    By requiring masks, the Toddler Mask Mandate will inhibit speech or language-

 impaired children, autistic children, deaf children, staff, and volunteers—who rely on seeing the

 faces of those with whom they interact in order to communicate—from experiencing a complete

 and inclusive preschool education. See PI Ex. T; also, e.g., Deepa Shivaram, New normal of masks

 is an ‘added barrier’ for deaf and hard-of-hearing community, NBC News (May 23, 2020),

 https://nbcnews.to/3pHBply.

        142.    At the end of the day, children will lose their teachers, their educational develop-

 ment will be set back, low-income parents will be forced to quit their jobs, and communities will

 suffer the effects for a long time to come. See PI Exs. F at 3, J at 3, K at 2-3; O at 6; T at 3-4.

 IX.    Harm to the Plaintiff States.

        143.    Plaintiff States repeat and incorporate by reference each of the Complaint allega-

 tions stated above. The Head Start Mandate causes irreparable harm to the States’ most vulnerable

 residents: underprivileged children in Head Start programs. It threatens the jobs of trained and

 certified Head Start teachers, who cannot be easily replaced, and it threatens irreparable harm to

 the Plaintiff States, who have all expended untold resources in support of early childhood educa-

 tion program alignment with educational standards for K-12 education.

        144.    The Head Start Mandate will make it more difficult for States to “enhance collab-

 oration and coordination of Head Start services by Head Start agencies with other entities provid-

 ing early childhood education and development . . . , health care, mental health care, welfare, child

 protective services, education and community service activities, family literacy services, reading

 readiness programs (including such programs offered by public and school libraries), services re-

 lating to children with disabilities, other early childhood education and development for limited

 English proficient children and homeless children, and services provided for children in foster care




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 and children referred to Head Start programs by child welfare agencies.” 42 U.S.C.

 §9837b(a)(4)(B)(i). That is because, among other reasons, many entities with which Head Start

 programs collaborate and coordinate, particularly in rural communities, do not impose vaccination

 and masking requirements as demanded by the Head Start Mandate.

         145.   The Head Start Mandate will make it more difficult for States to “promote partner-

 ships between Head Start agencies, State and local governments, and the private sector to help

 ensure that children from low-income families, who are in Head Start programs or are preschool

 age, are receiving comprehensive services to prepare the children for elementary school.” 42

 U.S.C. §9837b(a)(4)(C). That is because, among other reasons, many private, state, and local en-

 tities with which Head Start programs collaborate and coordinate, particularly in rural communi-

 ties, do not impose vaccination and masking requirements as demanded by the Head Start Man-

 date.

         146.   The Head Start Mandate will make it more difficult for States to “identify other

 resources and organizations (both public and private) for the provision of in-kind services to Head

 Start agencies.” 42 U.S.C. §9837b(a)(4)(G). That is because, among other reasons, the Head Start

 Mandate will prohibit in-kind services from organizations that do not impose the same vaccination

 and masking requirements and from individuals (including volunteers) who do not comply with

 the same vaccination and masking requirements.

         147.   Based on their own statements: School closures, heightened stress, loss of income,

 and social isolation are all stressors that increase the risk for child abuse and neglect, and program

 closures contribute to disruption of service access for Head Start children, “who often experience

 trauma and are most in need of the consistent care, education, and comprehensive services that

 Head Start provides.” 86 Fed. Reg. 68057.




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          148.   According to the HHS, research also indicates Early Head Start can serve as a child

 abuse and neglect prevention program, and these programs are “known to help prevent child

 abuse” and “provide supports to families experiencing domestic violence (2.5 percent or 24,000

 families in 2019 OHS data.” Id. at 68057-58. The closure of Head Start programs in Plaintiff States,

 by HHS’s own admission, increases risk of these irreparable harms to vulnerable children. Corre-

 spondingly, the burden is increased on State and local governments to respond to these societal

 harms.

          149.   Plaintiff States also suffer irreparable harm from the loss of their ability to consult

 and comment before the imposition of a Mandate with such drastic implications for their educa-

 tional systems and their citizens.

                                      CLAIMS FOR RELIEF

                                        COUNT I
             The Head Start Mandate Is Beyond the Executive Branch’s Authority
                                       (5 U.S.C. §706)

          150.   Plaintiff States repeat and incorporate by reference each of the Complaint allega-

 tions stated above.

          151.   Courts must “hold unlawful and set aside agency action” that is “not in accordance

 with law” or “in excess of statutory ... authority.” 5 U.S.C. §706(2)(A), (C).

          152.   The Head Start Mandate is a final agency action.

          153.   The Head Start Mandate is a federal action involving issues of major economic,

 social, and political significance. The Mandate affects approximately a million children and hun-

 dreds of thousands of staff and volunteers. It also impacts hundreds of millions of dollars in fund-

 ing and disrupts the education of children at a critical developmental period in their lives and

 impairs alignment of early childhood education programs across the country and specifically in




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 Plaintiff States. Certainly, this is a decision of vast economic and political significance. Louisiana

 v. Becerra, 2021 WL 5609846, at *11 (W.D. La. Nov. 30, 2021).

        154.    Because the Mandate triggers the major questions doctrine, it must be authorized

 by a clear statement of unambiguous congressional intent. Ala. Ass’n of Realtors v. Dep’t of Health

 & Hum. Servs., 141 S. Ct. 2485, 2489 (2021); BST Holdings, L.L.C. v. Occupational Safety &

 Health Admin., 17 F.4th 604, 617 (5th Cir. 2021). The Executive cannot “bring about an enormous

 and transformative expansion in [its] regulatory authority without clear congressional authoriza-

 tion.” Util. Air Regulatory Grp., 573 U.S. at 324; see also Brown & Williamson Tobacco Corp.,

 529 U.S. at 159 (rejecting Executive claim to “jurisdiction to regulate an industry constituting a

 significant portion of the American economy” absent clear congressional authorization). Yet the

 Mandate does precisely that. This lack of statutory authorization is doubly fatal because “Congress

 does not casually authorize administrative agencies to interpret a statute to push the limit of con-

 gressional authority,” Solid Waste Agency of N. Cook Cty. v. U.S. Army Corps of Eng’rs, 531 U.S.

 159, 172-73 (2001), particularly when the Executive’s action would threaten to alter “the consti-

 tutional balance between the National Government and the States,” Bond v. United States, 572

 U.S. 844, 862 (2014).

        155.    Neither the Head Start Act nor any other provision of law contains the necessary

 clear statement to authorize the Head Start Mandate, which pushes the limits of congressional

 power under the Nondelegation Doctrine, exceeds the limits of congressional power under the

 Spending Clause, intrudes into an area of traditional State control, and implicates a question of

 major social, political, and economic importance.

        156.    The provision of the Head Start Act that HHS cites as authority for the Mandate

 comes nowhere close to the clear statement needed to authorize this major federal action.




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         157.        HHS asserts that Section 641A of the Act authorizes the Mandate. But the cited

 provision only authorizes the Secretary to “modify, as necessary ... administrative and financial

 management standards,” “standards relating to the condition and location of facilities (including

 indoor air quality assessment standards, where appropriate) for such agencies, and programs,” and

 “such other standards as the Secretary finds to be appropriate.” 42 U.S.C. §9836a(a)(1)(C)-(E).

 This provision does not grant express authority to impose the Head Start Mandate.

         158.        Such a mandate is not an “administrative and financial management standard[].”

         159.        It is not a “standard relating to the condition and location of facilities,” which, as

 the specification of “indoor air quality assessment” demonstrates, refers to physical conditions and

 locations of Head Start facilities rather than conditions on participation, employment, and volun-

 teer eligibility.

         160.        Finally, the general “other standards as the Secretary finds to be appropriate” clause

 cannot be relied upon as authority given the major questions implicated and the difference between

 a vaccine and masking mandate and the other authorities specifically enumerated. See Louisiana

 v. Becerra, 2021 WL 5609846, at *10 (W.D. La. Nov. 30, 2021) (“Not only do the statutes not

 specify such superpowers, but principles of separation of powers weigh heavily against such pow-

 erful authority being transferred to a government agency by general authority.”); see also id. at *7

 (“The Court stated the Applicants had made a compelling argument that, although 29 U.S.C. 655

 gave broad authority to OSHA, to avoid ‘giving unintended breadth to Acts of Congress’ the Court

 should use the principle of ‘noscitur a sociis’—meaning, a word is known by the company it

 keeps—to limit OSHA’s authority.”) (quoting BST Holdings, 17 F.4th at 613).

         161.        Furthermore, in enacting the Head Start Mandate, the Secretary is not “modifying,

 as necessary” any standards. See 42 U.S.C. §9836a(a)(1). The word “modify” refers to a much




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 more limited action. It means “(1) “To make somewhat different; to make small changes to (some-

 thing) by way of improvement, suitability, or effectiveness;” (2) “To make more moderate or less

 sweeping; to reduce in degree or extent; to limit, qualify, or moderate;” or (3) “To describe the or

 limit the meaning of.” Modify, Black’s Law Dictionary (10th ed. 2014); see also Random House

 Dictionary of the English Language 1236 (2d ed. 1987) (“to change somewhat the form or qualities

 of; alter partially; amend”); Webster's Third New International Dictionary 1452 (1981) (“to make

 minor changes in the form or structure of: alter without transforming”); 9 Oxford English Diction-

 ary 952 (2d ed. 1989) (“[t]o make partial changes in; to change (an object) in respect of some of

 its qualities; to alter or vary without radical transformation”).

        162.    In MCI Telecommunications Corp. v. American Telephone & Telegraph Co., 512

 U.S. 218 (1994), the Supreme Court held that a statute authorizing the Federal Communications

 Commission to “modify any requirement” for tariff filing did not authorize the challenged regula-

 tion because it effected a fundamental change rather than a “modification.” The Court relied heav-

 ily on the narrowing function of the word “modify” in the authorizing statute. It explained that

 “[v]irtually every dictionary we are aware of says that ‘to modify means to change moderately or

 in a minor fashion.” Id. at 225. It cited those dictionaries at length and then concluded that

 “‘[m]odify,’ in our view, connotes moderate change.” Id. at 228. The Secretary here thus cannot

 claim to be acting pursuant to his authority to “modify” performance standards when he enacts

 sweeping and unprecedented mandates dictating the private medical decisions of hundreds of thou-

 sands of people and effectively exiling a substantial number of educators and children.

        163.    Because the Head Start Act does not clearly authorize the Head Start Mandate, the

 Executive Branch has acted “in excess” of its constitutional and statutory authority. 5 U.S.C.

 §706(2)(C).




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                                         COUNT II
                          The Head Start Mandate Is Contrary to Law
                                (5 U.S.C. §706; 42 U.S.C. §9836a)

          164.   Plaintiff States repeat and incorporate by reference each of the Complaint allega-

 tions stated above.

          165.   Courts must “hold unlawful and set aside agency action” that is “not in accordance

 with law” or “in excess of statutory ... authority.” 5 U.S.C. §706(2)(A), (C).

          166.   The purpose of the Head Start program is “to promote the school readiness of low-

 income children by enhancing their cognitive, social, and emotional development.” 42 U.S.C.

 §9831.

          167.   The Head Start Act has been reauthorized several times for the purpose of expand-

 ing eligibility and enrollment. See, e.g., Improving Head Start for School Readiness Act of 2007

 (P.L. 110-134).

          168.   The Head Start Mandate is contrary to the Head Start Act because it would decrease

 Programs and student enrollment, which would harm the school readiness of low-income children.

          169.   The Head Start Mandate is contrary to the Head Start Act because it would decrease

 staff and volunteer levels, which would harm the school readiness of low-income children. See 42

 U.S.C. §9831.

          170.   The Mandate violates 42 U.S.C. §9836a(a)(2)(B)(x), which requires the Secretary

 to “take into consideration ... the unique challenges faced by individual programs, including those

 programs that are seasonal or short term and those programs that serve rural populations.” Alt-

 hough the Secretary specifically included a statement regarding the Mandate’s Tribal impact, the

 Secretary nowhere mentions the Mandate’s impact on rural areas or States where programs will

 close or lose capacity as a result of the Mandate.




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        171.    The Mandate violates 42 U.S.C. §9836a(2)(A), which requires that the Secretary

 “shall consult with experts in the fields of child development, early childhood education, child

 health care, family services (including linguistically and culturally appropriate services to non-

 English speaking children and their families), administration, and financial management, and with

 persons with experience in the operation of Head Start programs.” The Secretary did not do so.

 And his consultation with “experts in child health, including pediatricians, a pediatric infectious

 disease specialist, and the recommendations of the CDC and FDA,” 86 Fed. Reg. at 68054, comes

 nowhere close to meeting §9836a(2)(A)’s specific requirements. HHS also failed to meet

 §9836a(2)(A)’s requirements because it failed to disclose who specifically it actually consulted.

        172.    The Mandate violates 42 U.S.C. §9836a(a)(2)(C)(ii), which requires the Secretary

 to “ensure that any such revisions in the standards will not result in the elimination of or any

 reduction in quality, scope, or types of health, educational, parental involvement, nutritional, so-

 cial, or other services required to be provided under such standards as in effect on December 12,

 2007.” By excluding children who do not comply with the Mandate and reducing eligible staff and

 volunteers, the Mandate will result in the reduction of the quality, scope, and types of health, edu-

 cation, parental involvement, nutrition, social, and other services provided to students.

        173.    The Mandate violates 42 U.S.C. §9836a(b)(3)(B)’s fundamental command that

 measures promulgated under the authority of Section 641A “shall not be used to exclude children

 from Head Start programs.” That is precisely the Mandate’s design—the exclusion of children of

 parents who refuse to have their children comply with the masking requirement.




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                                      COUNT III
      The Head Start Mandate Violates the APA’s Notice-and-Comment Requirement
                                     (5 U.S.C. §706)

        174.      Plaintiff States repeat and incorporate by reference each of the Complaint allega-

 tions stated above.

        175.      A “reviewing court shall ... hold unlawful and set aside agency action ... found to

 be ... without observance of procedure required by law.” 5 U.S.C. §706(2)(D).

        176.      The Head Start Mandate is a final agency action and legislative rule that requires

 notice-and-comment rulemaking procedures under the APA.

        177.      HHS acknowledges that the Mandate is a legislative rule that normally would have

 to go through the APA’s notice-and-comment procedures. 86 Fed. Reg. at 68058.

        178.      HHS acknowledges that the Mandate was promulgated without notice-and-com-

 ment procedures.

        179.      HHS relies on the APA’s “good cause” exception to exempt the Mandate from no-

 tice-and-comment rulemaking. 86 Fed. Reg. at 68058.

        180.      An agency may employ the APA’s good-cause exception only when notice-and-

 comment procedures are “impracticable, unnecessary, or contrary to the public interest.” 5 U.S.C.

 §553(b)(3)(B).

        181.      “The ‘good cause’ exception in 5 U.S.C. 553 is read narrowly to avoid providing

 agencies with an escape clause from the” APA’s “notice and comment requirements.” Louisiana

 v. Becerra, 2021 WL 5609846, at *9 (W.D. La. Nov. 30, 2021).

        182.      “The good cause exception [is] ‘meticulous and demanding,’ ‘narrowly construed,’

 ‘reluctantly countenanced,’ and evoked only in ‘emergency situations.’” Id. (quoting Sorenson

 Commc’ns Inc. v. F.C.C., 755 F.3d 702, 706 (D.C. Cir. 2014)).




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        183.    HHS’s justification for avoiding notice and comment comes nowhere close to meet-

 ing the stringent good-cause standard. HHS states that although “COVID-19 cases, hospitaliza-

 tions and deaths have begun to trend downward at a national level,” notice and comment must be

 avoided because of the “threat to the country’s progress on the COVID-19 pandemic” posed by

 the unvaccinated. 86 Fed. Reg. at 68058-59.

        184.    HHS’s justification amounts to no more than a generalized desire for immediate

 implementation of the Mandate. But this is precisely the justification court have repeatedly re-

 jected. See, e.g., United States v. Johnson, 632 F.3d 912, 929 (5th Cir. 2011) (“[T]he good cause

 exception should not be used to circumvent the notice and comment requirements whenever an

 agency finds it inconvenient to follow them.”); Ass’n of Cmty. Cancer Ctrs. v. Azar, 509 F. Supp.

 3d 482, 498 (D. Md. 2020) (“[A]n agency may not dispense with notice and comment procedures

 merely because it wishes to implement what it sees as a beneficial regulation immediately. Agen-

 cies presumably always believe their regulations will benefit the public. If an urgent desire to

 promulgate beneficial regulations could always satisfy the requirements of the good cause excep-

 tion, the exception would swallow the rule and render notice and comment a dead letter.”).

        185.    This Court and the Fifth Circuit have rejected precisely the same claims of exemp-

 tion from APA and other notice-and-comment requirements. See BST Holdings, 17 F.4th at 611-

 12 (“The Mandate’s stated impetus—a purported “emergency” that the entire globe has now en-

 dured for nearly two years, and which OSHA itself spent nearly two months responding to—is

 unavailing as well.”); Louisiana v. Becerra, 2021 WL 5609846, at *10 (W.D. La. Nov. 30, 2021)

 (“It took CMS almost two months, from September 9, 2021 to November 5, 2021, to prepare the

 interim final rule at issue. Evidently, the situation was not so urgent that notice and comment were

 not required. It took CMS longer to prepare the interim final rule without notice than it would have




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 taken to comply with the notice and comment requirement. Notice and comment would have al-

 lowed others to comment upon the need for such drastic action before its implementation.”). In-

 deed, courts across the country have rejected agency reliance on the good-cause exception for

 COVID-19 measures. See Florida v. Becerra, 2021 WL 2514138, at *45 (M.D. Fla. June 18,

 2021); Regeneron Pharms., Inc. v. H.H.S, 510 F. Supp. 3d 29, 48 (S.D.N.Y. 2020); Chamber of

 Com. of the U.S. v. D.H.S., 504 F. Supp. 3d 1077, 1094 (N.D. Cal. 2020); Ass’n of Cmty. Cancer

 Ctrs. v. Azar, 509 F. Supp. 3d 482, 496 (D. Md. 2020).3

        186.    As courts, including this Court and the Fifth Circuit, have consistently held, see

 supra, HHS’s generalized desire to immediately publish the Mandate comes nowhere close to

 meeting the APA’s good-cause standard. Accordingly, the Head Start Mandate is unlawful because

 it was promulgated without the notice-and-comment procedures required by the APA.

                                          COUNT IV
                       The Head Start Mandate Is Arbitrary and Capricious
                                         (5 U.S.C. §706)

        187.    Plaintiff States repeat and incorporate by reference each of the Complaint allega-

 tions stated above.

        188.    Under the APA, a court must “hold unlawful and set aside agency action” that is

 arbitrary or capricious or otherwise not in accordance with law or contrary to the Constitution. 5

 U.S.C. §706(2)(A).

        189.    “Federal administrative agencies are required to engage in reasoned decision-mak-

 ing.” Louisiana v. Becerra, 2021 WL 5609846, at *12 (W.D. La. Nov. 30, 2021).




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   Further undermining HHS’s emergency rationale is the fact that the Mandate was subjected to
 OIRA review under Executive Order 12866. That means HHS views compliance with an Execu-
 tive Order as more important than compliance with the APA’s mandatory statutory procedures for
 transparency and public involvement in rulemaking.


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           190.     “[A]gency action is lawful only if it rests on a consideration of the relevant factors”

 and “important aspects of the problem.” Michigan v. EPA, 576 U.S. 743, 750-52 (2015) (requiring

 “reasoned decisionmaking”). This means agencies must “examine all relevant factors and record

 evidence.” Am. Wild Horse Pres. Campaign v. Perdue, 873 F.3d 914, 923 (D.C. Cir. 2017).

           191.   Further, agencies must actually analyze the relevant factors. “‘Stating that a factor

 was considered ... is not a substitute for considering it.’” Texas v. Biden, 10 F.4th 538, 556 (5th

 Cir. 2021). The agency must instead provide more than “conclusory statements” to prove it con-

 sidered the relevant statutory factors. Encino Motorcars, LLC v. Navarro, 136 S. Ct. 2117, 2127

 (2016).

           192.   The Head Start Mandate is arbitrary and capricious for several independently suf-

 ficient reasons.

           193.   First, the Mandate will decrease eligible students, staff, and volunteers, undermin-

 ing the Head Start Act’s focus on student enrollment, education, and wellbeing. See 42 U.S.C.

 §9831. Indeed, soon after the Mandate came out, the National Head Start Association conducted a

 survey to examine the Mandate’s impact. The results: 26% of programs anticipate losing more

 than 30% of their staff and 60% anticipate losing from 10% to 20% of their staff. According to the

 NHSA survey, on average, Head Start could lose 22% of its total workforce, amounting to 60,000

 staff and teachers. When asked if classrooms would need to close if the Mandate was implemented

 on January 31, 50% of the programs said yes. The survey results indicate 1,324 classrooms will

 close. See PI Ex. A.

           194.   Each prong of the President’s vaccination policy is aimed at the same overarching

 goal: increasing individual vaccination rates in society. See Remarks by President Biden on

 Fighting the COVID-⁠19 Pandemic” (Sept. 9, 2021), https://bit.ly/3oI0pKr (Head Start Vaccine




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 Mandate part of President’s plan to “increase vaccinations among the unvaccinated with new vac-

 cination requirements”); The White House, Path Out of the Pandemic: President Biden’s Covid-

 19 Action Plan, https://bit.ly/3adkMXx. This policy comes at the expense of exacerbating staff

 shortages. Cf. Louisiana v. Becerra, 2021 WL 5609846, at *12 (“The Plaintiff States further main-

 tain the goal of the CMS Mandate is to increase individual vaccine rates, which will actually have

 the effect of harming patient well-being due to staff shortages of providers and suppliers.”).

        195.    As discussed above, the Mandate would cause Head Start programs to fire thou-

 sands of staff and ban thousands of volunteers from serving at Head Start programs. The staff and

 volunteer shortages caused by the Mandate will have a detrimental effect on child education. See,

 e.g., Chad Frey, Vaccine mandate affecting Newton Head Start staff, The Kansan (Nov. 9, 2021),

 https://bit.ly/3oB1dQL; Adam Kurtz, Mayville State University’s Head Start program could be

 impacted by vaccine mandate, Grand Forks Herald (Dec. 9, 2021), https://bit.ly/3oFENOA (“Van

 Horn said he was concerned about being able to maintain services for all of those children if the

 mandate remains in place.”).

        196.    Beyond that, the Toddler Mask Mandate would force practically all of the 864,289

 children subject to it to either submit to masking or surrender participation in Head Start. And

 HHS did not indicate how many children, staff, or volunteers would leave the program due to the

 Mandate. The inevitable drop in students whose parents are unwilling to comply with the Man-

 date’s requirements will undermine the Act’s central focus on maintaining student enrollment. See

 42 U.S.C. §9836a(b)(3)(B) (“Such measures shall not be used to exclude children from Head Start

 programs.”); See Tyler Brown, Day care says parents are removing kids due to state masking

 mandate, ABC/WHAM (Sept. 16, 2021), https://bit.ly/3y8ltMU; Kailey Schuyler, Parents pulling

 students out of school systems due to mask mandates, WAFF/NBC (Aug. 15, 2021).




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        197.    The Mandate ignores that mask wearing is not in the best interest of children, and

 subordinates students’ interests—the purpose of the Act—to the Administration’s vaccination and

 masking rules. Coronavirus disease (COVID-19): Children and masks, World Health Org. (Aug.

 21, 2020), https://bit.ly/3Gxzg2n.

        198.    The Mandate also ignores the best interest of speech and language impaired, autis-

 tic, or deaf children from experiencing a complete preschool education. See, e.g., Deepa Shivaram,

 New normal of masks is an 'added barrier' for deaf and hard-of-hearing community, NBC News

 (May 23, 2020), https://nbcnews.to/3pHBply. Indeed, the Mandate never once mentions the inter-

 ests of deaf students and is generally dismissive of all impaired students and the disparate impact

 of the Mandate on this population. But see 42 U.S.C. §9836a(b)(2)(F) (“The measures under this

 subsection shall ... provide for appropriate accommodations for children with disabilities.”).

        199.    The Mandate also ignores another statutorily mandated factor—its disparate impact

 on rural areas. See 42 U.S.C. §9836a(a)(2)(B)(x) (the Secretary must “take into consideration ...

 the unique challenges faced by individual programs, including those programs that are seasonal or

 short term and those programs that serve rural populations”).

        200.    The Mandate ignores the disparate impact of program closures or limited opportu-

 nities on minorities.

        201.    Second, HHS failed to consider or arbitrarily rejected obvious alternatives to vac-

 cine and masking requirements.

        202.    Emerging studies increasingly indicate natural immunity affords benefits compara-

 ble to or better than vaccination. Some experts have suggested that natural immunity is both supe-

 rior to and more durable than the vaccines. See, e.g., Sivan Gazit et al., Comparing SARS-CoV-2

 natural immunity to vaccine-induced immunity: reinfections versus breakthrough infections,




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 Medrxiv (Aug. 25, 2021), https://bit.ly/3DnKzIZ (“This study demonstrated that natural immunity

 confers longer lasting and stronger protection against infection, symptomatic disease and hospital-

 ization caused by the Delta variant of SARS-CoV-2, compared to the BNT162b2 two-dose vac-

 cine-induced immunity. And it is unclear if vaccination of an individual who has natural immunity

 will provide any perceptible benefit in fighting future infection.”); Yair Goldberg, et al., Protection

 of previous SARS-CoV-2 infection is similar to that of BNT162b2 vaccine protection: A three-

 month nationwide experience from Israel, Medrxiv (Apr. 24, 2021), https://bit.ly/3n8uXTe; see

 also, e.g., Martin Kuldorff and Jay Bhattacharya, The ill-advised push to vaccinate the young, The

 Hill (June 17, 2021), https://bit.ly/2Z2ZpX6; R. R. Goel et al., mRNA vaccines include durable

 immunity    to   SARS-CoV-2       and    variants        of    concern,   Science   (Oct.   14,   2021),

 https://bit.ly/3DXLS1K (“[B]oosting of pre-existing immunity from prior infection with mRNA

 vaccination mainly resulted in a transient benefit to antibody titers with little-to-no long-term in-

 crease in cellular immune memory.”). And a highly reported study from Israel involving review

 of 74,000 cases of infection concluded that a person with natural immunity is 27 times less likely

 to be reinfected than a vaccinated person. See Sivan Gazit, Roei Shlezinger, et al., Comparing

 SARS-CoV-2 natural immunity to vaccine-induced immunity: reinfections versus breakthrough in-

 fections, MEDRXIV (Aug. 30, 2021), https://bit.ly/3FjArCG. Additional studies support this con-

 clusion.4




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  See Dr. Michel C. Nussenzweig, Senior Physician, Natural infection versus vaccination: Differ-
 ences in COVID antibody responses emerge, THE ROCKEFELLER UNIV. (Aug. 24, 2021),
 https://bit.ly/3ojdfNz; Don W. Hackett, Robert Carlson, M.D., Natural Immunity After Covid-19
 Found Durable and Robust, PRECISION VACCINATIONS (updated Aug. 2, 2021),
 https://bit.ly/30goyOE; Sharon Reynolds, Lasting immunity found after recovery from COVID-19,
 NAT’L INST. OF HEALTH (Jan. 26, 2021), https://bit.ly/3kPYFwb.


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        203.    HHS’s Mandate is arbitrary because it fails to even consider or mention natural

 immunity as an alternative to vaccination or mask wearing. Cf. Louisiana v. Becerra, 2021 WL

 5609846, at *13 (“The rejection of natural immunity as an alternative is puzzling.”); see also BST

 Holdings, 17 F.4th at 615 (“[A] naturally immune unvaccinated worker is presumably at less risk

 than an unvaccinated worker who has never had the virus.”).

        204.    Third, the Head Start Mandate is arbitrary and capricious because its rationales are

 flagrantly pretextual. As recounted above, the President has stated several times that the Head Start

 Mandate is part of a broader program aimed at increasing vaccination rates throughout American

 society, writ large. The Mandate, however, eschews this rationale and tries (unsuccessfully and

 after-the-fact) to pigeonhole the Mandate into the Head Start Act’s statutory factors. Such obvious

 regulatory reframing of the Mandate here leads to the inescapable conclusion that the Mandate’s

 stated rationale is pretextual. And the presence of such blatant pretext is enough to render the

 Mandate arbitrary and capricious. Dep’t of Com. v. New York, 139 S. Ct. 2551, 2575-76 (2019);

 see also Louisiana v. Becerra, 2021 WL 5609846, at *14 (“[T]he 46-page CMS Mandate does not

 even mention President Biden’s declaration of a national vaccine mandate. The presence of pretext

 is enough to render a rule arbitrary and capricious.”). What’s more, as this Court has found, the

 Administration’s shifting rationales across all vaccine mandates demonstrate pretext. See Louisi-

 ana v. Becerra, 2021 WL 5609846, at *14. For example, the OSHA ETS declares that vaccines

 are necessary to protect worker safety. And the CMS Mandate purported to focus on patient safety.

 But those rationales would not be sufficient under the Head Start Act. So HHS manufactured a

 new rationale to cram the mandate into the Head Start Act. Accepting HHS’s description of the

 Head Start Mandate requires this Court to “‘exhibit a naiveté from which ordinary citizens are

 free.’” Dep’t of Com. v. New York, 139 S. Ct. at 2575-76.




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         205.    Fourth, the Head Start Mandate completely ignores State reliance interests. Plain-

 tiff States have substantial reliance interests in the functioning of Head Start programs, which are

 often administered by public entities. Specifically, the Mandate ignores: (1) the Plaintiff States’

 reliance interests in public and private Head Start programs continuing to operate under existing

 rules without facing this new Mandate that threatens to cause significant harm to the States’ chil-

 dren, particularly minorities and children in rural and low-income communities; (2) Head Start

 providers’ similar reliance interests in staffing their facilities under the existing rules without fac-

 ing this new Mandate that threatens their workforce, the services they provide, and their very ex-

 istence; and (3) Head Start workers’ reliance interests, especially the interests of workers in rural

 communities, in selecting a job and building a career under the existing rules. The Mandate is

 arbitrary and capricious because it utterly ignores these reliance interests. See Dep’t of Homeland

 Sec. v. Regents of the Univ. of Cal., 140 S. Ct. 1891, 1913-14 (2020).

         206.    Fifth, the Mandate fails to consider the uncertainty it imposes on providers due to

 the existence of potentially conflicting State provisions. The effects of such uncertainty are already

 being felt by providers. See, e.g., Jeffrey S. Solochek, Head Start providers caught in crossfire of

 conflicting mask, vaccine rules, Tampa Bay Times (Dec. 9, 2021), https://bit.ly/3lT0NDA; Adam

 Kurtz, Mayville State University’s Head Start program could be impacted by vaccine mandate,

 Grand Forks Herald (Dec. 9, 2021), https://bit.ly/3oFENOA. Due to the uncertainty surrounding

 the legality of the Head Start Mandate, particularly in the wake of other mandates being enjoined,

 providers—particularly smaller and rural providers without ready access to expert legal advice—

 face a conundrum about whether to follow State law or the likely void and illegal Head Start Man-

 date.




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        207.    Sixth, the Mandate is arbitrary and capricious because it “is staggeringly over-

 broad.” BST Holdings, 17 F.4th at 615. Like the OSHA Mandate, the Head Start Mandate is “a

 one-size-fits-all sledgehammer that makes hardly any attempt to account for differences in” com-

 munity measures, levels of transmissions, levels of hospitalization, levels of infection across com-

 munities. Id. at 612.

        208.    Seventh, HHS fails to account for the fact that Head Start students often are blended

 with other public school students or attend school with students who are not in Head Start. Requir-

 ing Head Start toddlers to mask, while other children in the same school are unmasked, if programs

 remain open, will likely result in segregation of these children from others who are not subject to

 the Mandate, impairing the social interaction of the Head Start. This psychological and develop-

 mental impact is an important aspect of the problem that HHS failed to address.

                                        COUNT V
                The Head Start Mandate Violates the Congressional Review Act
                                       (5 U.S.C. §706)

        209.    Plaintiff States repeat and incorporate by reference each of the Complaint allega-

 tions stated above.

        210.    The Congressional Review Act requires all rules to be submitted to Congress to

 allow it an opportunity to pass a resolution disapproving the rule. A “major rule” must also receive

 a report from the Government Accountability Office and its effective date must be delayed. 5

 U.S.C. §801.

        211.    HHS concedes that the Head Start Mandate is a “major rule” for purposes of the

 CRA. 86 Fed. Reg. at 68063. Yet it relies on the CRA’s “limited exception[]” for rules which “an

 agency for good cause finds (and incorporates the finding and a brief statement of reasons therefor




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 in the rule issued) that notice and public procedure thereon are impracticable, unnecessary, or con-

 trary to the public interest.” 5 U.S.C. §808.

         212.    For the reasons discussed as to the APA good-cause exception, HHS’s dismissal of

 its CRA obligations comes nowhere close to meeting the exacting standards allowing a major rule

 to avoid the CRA’s exacting procedures. Sorenson Commc’ns, 755 F.3d at 706 (“Deference to an

 agency’s invocation of good cause—particularly when its reasoning is potentially capacious, as is

 the case here—would conflict with this court’s deliberate and careful treatment of the exception

 in the past.”); see also OMB, Guidance on Compliance with the Congressional Review Act, M-19-

 14 (Apr. 11, 2019) (noting APA good-cause standard applies in CRA context).

         213.    Accordingly, the Head Start Mandate violates the Congressional Review Act.

                                       COUNT VI
                 The Head Start Mandate Violates the Nondelegation Doctrine

         214.    Plaintiff States repeat and incorporate by reference each of the Complaint allega-

 tions stated above.

         215.    The Constitution vests Congress with all legislative powers it granted to the federal

 government. U.S. Const. art. 1, §1. “Congress is not permitted to abdicate or to transfer to others

 the essential legislative functions with which it is vested.” A.L.A. Schechter Poultry Corp. v.

 United States, 295 U.S. 495, 529-30 (1935).

         216.    If the Head Start Act authorizes the President to require Head Start programs to

 mandate vaccines and mask based on the amorphous term “such other standards as the Secretary

 finds to be appropriate,” this provision lacks an intelligible principle and is thus an unconstitutional

 delegation of legislative power to the Executive. See Louisiana v. Becerra, 2021 WL 5609846, at

 *15 (“If CMS has the authority by a general authorization statute to mandate vaccines, they have

 authority to do almost anything they believe necessary, holding the hammer of termination of the



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 Medicare/Medicaid Provider Agreement over healthcare facilities and suppliers.”). Because the

 word “appropriate” is not an intelligible principle, §9836a(1)(E) is an unconstitutional delegation

 of legislative power, is void, and therefore cannot justify the Mandate.

                                       COUNT VII
                    The Head Start Mandate Violates the Tenth Amendment

         217.    Plaintiff States repeat and incorporate by reference each of the Complaint allega-

 tions stated above.

         218.    “The powers not delegated by the Constitution to the United States, nor prohibited

 by it to the States, are reserved to the States respectively, or to the people.” U.S. Const. amend. X.

         219.    No clause of the Constitution authorizes the federal government to impose the Head

 Start Mandate. Education and public health have long been recognized as an aspect of police pow-

 ers reserved to the States, not the Federal Government. See, e.g., BST Holdings, 17 F.4th at 617

 (“[T]o mandate that a person receive a vaccine or undergo testing falls squarely within the States’

 police power.”); Louisiana v. Becerra, 2021 WL 5609846, at *15; see also Hillsborough Cty., 471

 U.S. at 719 (“[T]he regulation of health and safety matters is primarily, and historically, a matter

 of local concern.”); S. Bay United Pentecostal Church v. Newsom, 140 S. Ct. 1613 (2020) (Roberts,

 C.J., concurring in the denial of application for injunctive relief) (our Constitution principally en-

 trusts “[t]he safety and the health of the people” to the politically accountable officials of the States

 “to guard and protect”); United States v. Lopez, 514 U.S. 549, 580, 115 S. Ct. 1624, 1640, 131 L.

 Ed. 2d 626 (1995) (Kennedy, J., concurring) (“it is well established that education is a traditional

 concern of the States”); accord id. at 564 (majority op.); Missouri v. Jenkins, 515 U.S. 70, 131-32

 (1995) (Thomas, J., concurring) (“We have long recognized that education is primarily a concern

 of local authorities.”); Florida v. Becerra, 2021 WL 2514138, at *15 (M.D. Fla. June 18, 2021)




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 (“The history shows ... that the public health power ... was traditionally understood—and still is

 understood—as a function of state police power.”).

        220.    The Mandate expressly conflicts with State laws, rules, and policies. See, e.g., Jef-

 frey S. Solochek, “Head Start providers caught in crossfire of conflicting mask, vaccine rules,”

 Tampa Bay Times (Dec. 9, 2021), https://bit.ly/3lT0NDA. And as with the CMS Mandate, the

 Head Start Mandate purports to expressly preempt State and local provisions. 86 Fed. Reg. at

 68063; cf. Louisiana v. Becerra, 2021 WL 5609846, at *5 (“The CMS Mandate specifically

 preempts state laws with regard to COVID-19 Vaccine requirements and/or exemptions.”).

        221.    By encroaching upon the States’ traditional police powers over public health and

 education, particularly without clear authorization from Congress, Defendants have exceeded their

 authority and violated the Tenth Amendment. See Louisiana v. Becerra, 2021 WL 5609846, at *15

 (W.D. La. Nov. 30, 2021) (“The Plaintiff States make a strong case that the CMS Mandate violates

 the States’ police power.”).

                                      COUNT VIII
             The Head Start Mandate Violates the Anti-Commandeering Doctrine

        222.    Plaintiff States repeat and incorporate by reference each of the Complaint allega-

 tions stated above herein.

        223.    The Tenth Amendment and structure of the Constitution deprive Congress of “the

 “the power to issue direct orders to the governments of the States,” Murphy v. NCAA, 138 S. Ct.

 1461, 1476 (2018), and do not tolerate the federal government commandeering State officers “into

 administering federal law,” Printz v. United States, 521 U.S. 898, 928 (1997).

        224.    State entities will be required to enforce the Head Start Mandate. See, e.g., PI Ex.

 B.




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        225.    Accordingly, the Mandate clearly violates the anti-commandeering doctrine by re-

 quiring State entities to enforce the Mandate against students, employees, and volunteers.

                                        COUNT IX
                     The Head Start Mandate Violates the Spending Clause

        226.    Plaintiff States repeat and incorporate by reference each of the Complaint allega-

 tions stated above herein.

        227.    “[I]f Congress intends to impose a condition on the grant of federal moneys, it must

 do so unambiguously,” so “States [can] exercise their choice knowingly.” Pennhurst State Sch. &

 Hosp. v. Halderman, 451 U.S. 1, 17 (1981).

        228.    The Head Start Act does not clearly authorize or unambiguously impose the Vac-

 cine Mandate or Mask Mandate. And there is no nexus whatsoever between Head Start grants and

 vaccine and mask requirements. Cf. South Dakota v. Dole, 483 U.S. 203 (1987).

        229.    Accordingly, the Head Start Mandate is an unconstitutional new condition on the

 receipt of federal funds and is not authorized under the Spending Clause.

                                       COUNT X
  The Head Start Mandate Violates the Treasury and General Government Appropriations
                                       Act of 1999

        230.    Plaintiff States repeat and incorporate by reference each of the Complaint allega-

 tions stated above herein.

        231.    Section 654 of the Treasury and General Government Appropriations Act of 1999

 requires that agencies “shall” prepare an impact assessment “[b]efore implementing policies and

 regulations that may affect family well-being.” Public Law 105-277, 5 U.S.C. §601 note. Congress

 has mandated that the impact analysis meet several specific requirements including, among others,

 an assessment of whether the regulatory action “strengthens or erodes the authority and rights of

 parents in the education, nurture, and supervision of their children,” whether “the action may be



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 carried out by State or local government or by the family,” and whether “the action establishes an

 implicit or explicit policy concerning the relationship between the behavior and personal respon-

 sibility of youth, and the norms of society.” 5 U.S.C. §601 note.

        232.    HHS acknowledges that Section 654 applies to the Head Start Mandate. See 86 Fed.

 Reg. at 68062. But HHS arbitrarily rejects the need for an impact assessment with the conclusory

 claim that “it is not necessary to prepare a family policymaking assessment ... because [the Man-

 date] will not have any impact on the autonomy or integrity of the family as an institution.” Id.

 (emphasis added).

        233.    The Head Start Mandate explicitly affects “family well-being.” It intrudes into fun-

 damental decisions about whether a toddler must wear a mask at school. It also imposes obligations

 on parents picking children up from school. (And it is likely to result in numerous children not

 even having a school to attend.) It goes straight to the heart of the allocation of power between

 State and family.

        234.    Because the Mandate affects family well-being and because HHS failed to prepare

 an impact analysis, the Mandate is contrary to Section 654 of the Treasury and General Govern-

 ment Appropriations Act of 1999 and must be vacated.

                                     PRAYER FOR RELIEF

 NOW, THEREFORE, Plaintiffs request an order and judgment:

    a. Declaring, under 28 U.S.C. §2201, that the Head Start Mandate is arbitrary and capricious

        and unlawful under the APA;

    b. Declaring, under 28 U.S.C. §2201, that the Head Start Mandate is contrary to law and in

        excess of statutory authority under the APA;




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    c. Declaring, under 28 U.S.C. §2201, that the Head Start Mandate violates the APA because

       it was promulgated without notice and comment;

    d. Declaring that the Head Start Mandate violates the Constitution;

    e. Holding the Head Start Mandate is unlawful and vacating it;

    f. Preliminarily and permanently enjoining, without bond, Defendants from imposing Head

       Start Mandate;

    g. Tolling the Head Start Mandate’s compliance deadlines pending judicial review;

    h. Granting all other relief to which Plaintiff States are entitled, including but not limited to

       attorneys’ fees and costs




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 Dated: December 21, 2021                      Respectfully submitted,

                                               By:/s/ Elizabeth B. Murrill

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